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                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION




        SECURITIES AND EXCHANGE
        COMMISSION,

                                           Plaintiff,
                                                           Civil Action No. 3:09-cv-00298-N
        v.

        STANFORD INTERNATIONAL BANK, LTD,
        et al.,
                                           Defendants.



        RALPH S. JANVEY, in his capacity as Court-
        appointed receiver for the Stanford Receivership
        Estate; the OFFICIAL STANFORD
        INVESTORS COMMITTEE; PAM REED;
        SAMUEL TROICE; and MICHOACAN
        TRUST; individually and on behalf of a class of
        all others similarly situated,
                                                           Civil Action No. 3:12-cv-04641-N
                                          Plaintiffs,

         v.

        GREENBERG TRAURIG, LLP; HUNTON &
        WILLIAMS, LLP; AND YOLANDA SUAREZ,
                                          Defendants.



        APPENDIX TO EXPEDITED REQUEST FOR ENTRY OF SCHEDULING ORDER
         AND MOTION TO APPROVE PROPOSED SETTLEMENT WITH HUNTON &
           WILLIAMS LLP, TO ENTER THE BAR ORDER, TO ENTER THE FINAL
         JUDGMENT AND BAR ORDER, AND FOR PLAINTIFFS’ ATTORNEYS’ FEES
 	  




                                                                                              1
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         Ralph S. Janvey, in his capacity as the Court-appointed Receiver for the Stanford

 Receivership Estate, the Official Stanford Investors Committee, and Pam Reed, Samuel Troice,

 and Michoacan Trust, individually and on behalf of a putative class of Stanford investors

 (collectively, the “Plaintiffs”) file this appendix (the “Appendix”) in support of the Expedited

 Request for Entry of Scheduling Order and Motion to Approve Proposed Settlement with Hunton

 & Williams LLP, to Enter the Bar Order, to Enter the Final Judgment and Bar Order, and for

 Plaintiffs’ Attorneys’ Fees.



    Exhibit       Description

                                    APPENDIX MATERIALS

    1.             Settlement Agreement

    2.             Declaration of Edward C. Snyder

    3.             Declaration of Peter D. Morgenstern

    4.             Declaration of Doug J. Buncher

    5.             Declaration of Edward F. Valdespino

    6.             Declaration of Scott D. Powers

    7.             Declaration of John J. Little

    8.             Proposed Order




 APPENDIX TO MOTION TO APPROVE SETTLEMENT WITH HUNTON & WILLIAMS LLP                           2
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 Dated: August 16, 2017

  CASTILLO SNYDER, P.C.                                 NELIGAN, LLP

  By: __/s/ Edward C. Snyder                            By: __ /s/ Douglas J. Buncher
     Edward C. Snyder                                      Douglas J. Buncher
     esnyder@casnlaw.com                                   dbuncher@neliganlaw.com
     Jesse R. Castillo                                     Republic Center
     jcastillo@casnlaw.com                                 325 N. St. Paul, Suite 3600
    700 N. St. Mary’s Street, Suite 405                    Dallas, Texas 75201
     San Antonio, Texas 78205                              (214) 840-5320
     (210) 630-4200                                        (214) 840-5301 (Facsimile)
     (210) 630-4210 (Facsimile)

 BUTZEL LONG, P.C.                                     STRASBURGER & PRICE, LLP

 By: /s/ Peter D. Morgenstern                          By: /s/ Judith R. Blakeway
     Peter D. Morgenstern (pro hac vice)                   Judith R. Blakeway
     morgenstern@butzel.com                                judith.blakeway@strasburger.com
     Joshua E. Abraham (pro hac vice)                      Merritt Clements
     abraham@butzel.com                                    merritt.clements@strasburger.com
     477 Madison Avenue, Suite 1230                        2301 Broadway
     New York, New York 10022                              San Antonio, Texas 78215
     (212) 818-1110                                        Telephone: (210) 250-6000
     (212) 898-0123 (Facsimile)                            Facsimile: (210) 250-6100


  COUNSEL FOR THE PLAINTIFFS




                                 CERTIFICATE OF SERVICE

        On August 16, 2017, I electronically submitted the foregoing document with the clerk of
 the court of the U.S. District Court, Northern District of Texas, using the electronic case filing
 system of the Court. All parties who have appeared in this proceeding will be served via ECF.
 Investors and other interested parties will be served and given notice of the hearing on this
 Motion as approved by the Court.


                                              /s/ Peter D. Morgenstern
                                                  Peter D. Morgenstern	  


 APPENDIX TO MOTION TO APPROVE SETTLEMENT WITH HUNTON & WILLIAMS LLP                             3
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                            Exhibit 1
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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


  SECURITIES AND EXCHANGE
  COMMISSION,

                                       Plaintiff,
                                                          Civil Action No. 3:09-cv-00298-N
  v.

  STANFORD INTERNATIONAL BANK, LTD,
  et al.,
                                       Defendants.



  RALPH S. JANVEY, in his capacity as Court-
  appointed receiver for the Stanford Receivership
  Estate; the OFFICIAL STANFORD
  INVESTORS COMMITTEE; PAM REED;
  SAMUEL TROICE; and MICHOACAN
  TRUST; individually and on behalf of a class of
  all others similarly situated,
                                                          Civil Action No. 3:12-cv-04641-N
                                     Plaintiffs,

   v.

  GREENBERG TRAURIG, LLP; HUNTON &
  WILLIAMS, LLP; AND YOLANDA SUAREZ,
                                     Defendants.


             NOTICE OF SETTLEMENT AND BAR ORDER PROCEEDINGS

        PLEASE TAKE NOTICE that Ralph S. Janvey, in his capacity as the Court-appointed

 Receiver for the Stanford Receivership Estate (the “Receiver”), the Official Stanford Investors

 Committee (the “Committee”), and Pam Reed, Samuel Troice, and Michoacan Trust,

 individually and on behalf of a putative class of Stanford investors (collectively, the “Investor




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 Plaintiffs,” and with the Receiver and the Committee, the “Plaintiffs”), have reached an

 agreement (the “Settlement Agreement”) to settle all claims asserted or that could have been

 asserted against Hunton & Williams LLP (“Hunton”) in Janvey v. Greenberg Traurig LLP et al.,

 No. 3:12-cv-04641-N (N.D. Tex.) (the “Litigation”).

         PLEASE TAKE FURTHER NOTICE that the Plaintiffs have filed an Expedited Request

 for Entry of Scheduling Order and Motion to Approve Proposed Settlement with Hunton &

 Williams LLP, to Approve the Proposed Notice of Settlement with Hunton & Williams LLP, to

 Enter the Bar Order, to Enter the Rule 54(b) Final Judgment and Bar Order, and for Plaintiffs’

 Attorneys’ Fees (the “Motion”), filed in SEC v. Stanford Int’l Bank, Ltd., No. 3:09-cv-0298-N

 (N.D. Tex.) (the “SEC Action”). Copies of the Settlement Agreement, the Motion, and other

 supporting papers may be obtained from the Court’s docket in the SEC Action [ECF No. ____],

 and are also available on the websites of the Receiver

 (http://www.stanfordfinancialreceivership.com) and the Examiner (www.lpf-law.com/examiner-

 stanford-financial-group/). Copies of these documents may also be requested by email, by

 sending the request to Ivonne Soler at soler@butzel.com; or by telephone, by calling (313) 225-

 7048. All capitalized terms not defined in this Notice of Settlement and Bar Order Proceedings

 are defined in the Settlement Agreement, attached as Exhibit 1 of the Appendix to the Motion.

         PLEASE TAKE FURTHER NOTICE that the Motion requests that the Court approve the

 Settlement and enter a bar order permanently enjoining, among others, Interested Parties,1




 1
     “Interested Parties” means the Receiver; the Receivership Estate, the Committee, the members of the
     Committee; the Plaintiffs; the Stanford Investors; the Claimants; the Examiner; or any Person or Persons
     alleged by the Receiver, the Committee, or other Person or entity on behalf of the Receivership Estate to be
     liable to the Receivership Estate, whether or not a formal proceeding has been initiated.

                                                        2
                                                                                                 EXHIBIT A
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 including Stanford Investors,2 and Claimants,3 from pursuing Settled Claims,4 including claims

 you may possess, against Hunton.

         PLEASE TAKE FURTHER NOTICE that the settlement amount is thirty-four million

 U.S. dollars ($34,000,000.00) (the “Settlement Amount”). The Settlement Amount, less any fees

 and costs awarded by the Court to the attorneys for Plaintiffs and expenses paid by the Receiver

 (the “Net Settlement Amount”), will be deposited with and distributed by the Receiver pursuant

 to a Distribution Plan hereafter to be approved by the Court in the SEC Action (see subparagraph

 e below).

         This matter may affect your rights and you may wish to consult an attorney.

         The material terms of the Settlement Agreement are as follows:

                  a) Hunton will pay $34 million, which will be deposited with the Receiver as

                       required pursuant to the Settlement Agreement;

                  b) Plaintiffs will fully release the Hunton Released Parties5 from Settled Claims,

                       e.g., claims arising from or relating to Robert Allen Stanford, the Stanford

 2
     “Stanford Investors” means customers of Stanford International Bank, Ltd., who, as of February 16, 2009, had
     funds on deposit at Stanford International Bank, Ltd., and/or were holding certificates of deposit issued by
     Stanford International Bank, Ltd.
 3
     “Claimants” means any Persons who have submitted a Claim to the Receiver or to the Joint Liquidators.
 4
     “Settled Claims” generally means any action, cause of action, suit, liability, claim, right of action, right of levy
     or attachment, or demand whatsoever, whether or not currently asserted, known, suspected, existing, or
     discoverable, and whether based on federal law, state law, foreign law, common law, or otherwise, and whether
     based on contract, tort, statute, law, equity or otherwise, that a Releasor ever had, now has, or hereafter can,
     shall, or may have, directly, representatively, derivatively, or in any other capacity, for, upon, arising from,
     relating to, or by reason of any matter, cause, or thing whatsoever, that, in full or in part, concerns, relates to,
     arises out of, or is in any manner connected with (i) the Stanford Entities; (ii) any CD, depository account, or
     investment of any type with any one or more of the Stanford Entities; (iii) Hunton’s relationship with any one or
     more of the Stanford Entities and/or any of their personnel; (iv) Hunton’s provision of services to or for the
     benefit of or on behalf of the Stanford Entities; or (v) any matter that was asserted in, could have been asserted
     in, or relates to the subject matter of the SEC Action, the Litigation, or any proceeding concerning the Stanford
     Entities pending or commenced in any Forum. “Settled Claims” specifically includes, without limitation, all
     claims each Releasor does not know or suspect to exist in his, her, or its favor at the time of release, which, if
     known by that Person, might have affected their decisions with respect to the Settlement Agreement and the
     Settlement. See Paragraph 17 of the Settlement Agreement for a complete definition of Settled Claim. [ECF
     No. __.]

                                                           3
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                       Entities,6 or any conduct by the Hunton Released Parties relating to Robert

                       Allen Stanford or the Stanford Entities, with prejudice;

                  c) The Settlement Agreement requires entry of a Rule 54(b) Final Judgment and

                       Bar Order in the Litigation, and entry of a Final Bar Order in the SEC Action,

                       each of which permanently enjoins, among others, Interested Parties,

                       including all Stanford Investors and Claimants, from bringing, encouraging,

                       assisting, continuing, or prosecuting, against Hunton or any of the Hunton

                       Released Parties, the Litigation, or any action, lawsuit, cause of action, claim,

                       investigation, demand, complaint, or proceeding of any nature, including,

                       without limitation, contribution or indemnity claims, arising from or relating

                       to a Settled Claim;

                  d) The Receiver will disseminate notice of the Settlement Agreement (i.e. this

                       Notice) to Interested Parties, through one or more of the following: mail,
 5
     “Hunton Released Parties” means Hunton, and all of its predecessor firms and, of each of the foregoing, all of
     their respective past and present subsidiaries, parents, successors and predecessors, affiliates, related entities
     and divisions, and all of their respective current and former partners, members, counsel, principals, participating
     principals, associates, managing or other agents, management personnel, officers, directors, shareholders,
     administrators, servants, employees, staff, consultants, advisors, attorneys, accountants, lenders, insurers and
     reinsurers, representatives, successors and assigns, known or unknown, in their representative capacity or
     individual capacity. “Hunton Released Parties” shall include Carlos Loumiet in his individual capacity relating
     to alleged conduct or knowledge while employed by or affiliated with Hunton or Greenberg Traurig LLP
     (“Greenberg”). Notwithstanding the foregoing, “Hunton Released Parties” shall not include any Person, other
     than Hunton or Loumiet, against whom, as of the Agreement Date, any of the Plaintiffs is asserting a claim or
     cause of action in any judicial proceeding, and also shall not include any Person who becomes employed by,
     related to, or affiliated with Hunton after the Agreement Date and whose liability, if any, arises solely out of or
     derives solely from their actions or omissions before becoming employed by, related to, or affiliated with
     Hunton. For the avoidance of doubt, “Hunton Released Parties” does not include Greenberg or Yolanda Suarez
     (“Suarez”), and it is the Parties’ intent that the Settlement shall have no impact whatsoever on the claims
     asserted by Plaintiffs against Greenberg and Suarez in the Litigation.
 6
     “Stanford Entities” means Robert Allen Stanford; James M. Davis; Laura Pendergest-Holt; Gilbert Lopez; Mark
     Kuhrt; SIB; Stanford Group Company; Stanford Capital Management, LLC; Stanford Financial Group; the
     Stanford Financial Bldg Inc.; the entities listed in Exhibit D to the Settlement Agreement [ECF No. __]; and any
     entity of any type that was owned, controlled by, or affiliated with Robert Allen Stanford, James M. Davis,
     Laura Pendergest-Holt, Gilbert Lopez, Mark Kuhrt, SIB, Stanford Group Company, Stanford Capital
     Management, LLC, Stanford Financial Group, or the Stanford Financial Bldg Inc., on or before February 16,
     2009.

                                                           4
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                    email, international delivery, CM/ECF notification, facsimile transmission,

                    and/or publication on the websites maintained by the Examiner (www.lpf-

                    law.com/examiner-stanford-financial-group/) and the Receiver

                    (http://www.stanfordfinancialreceivership.com);

                e) The Receiver will develop and submit to the Court for approval a plan for

                    distributing the Net Settlement Amount (the “Distribution Plan”);

                f) Under the Distribution Plan, once approved, the Net Settlement Amount will

                    be distributed by the Receiver, under the supervision of the Court, to Stanford

                    Investors who have submitted Claims that have been allowed by the Receiver;

                g) Persons who accept funds from the Settlement Amount will, upon accepting

                    the funds, fully release the Hunton Released Parties from any and all Settled

                    Claims; and

                h) The Litigation will be dismissed with prejudice as to Hunton, with each party

                    bearing its own costs and attorneys’ fees.

        Attorneys for the Plaintiffs seek a fee award based upon 25% of the Settlement Amount,

 pursuant to 25% contingency fee agreements with the Plaintiffs. Twenty-five percent of the net

 recovery from the Settlement is to be calculated but shall not exceed $8,500,000.00.

        The final hearing on the Motion is set for [__________________] (the “Final Approval

 Hearing”). Any objection to the Settlement Agreement or its terms, the Motion, the Rule 54(b)

 Final Judgment and Bar Order, the Final Bar Order, or the request for approval of the Plaintiffs’

 attorneys’ fees must be filed, in writing, with the Court in the SEC Action no later than [insert

 date of 21st day before Final Approval Hearing]. Any objections not filed by this date will be

 deemed waived and will not be considered by the Court. Those wishing to appear and to orally



                                                  5
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 present their written objections at the Final Approval Hearing must include a request to so appear

 within their written objections.




                                                 6
                                                                                     EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  SECURITIES AND EXCHANGE                            §
  COMMISSION,                                        §
                                                     §
         Plaintiff,                                  §
                                                     §
  v.                                                 §    Civil Action No. 3:09-CV-0298-N
                                                     §
  STANFORD INTERNATIONAL BANK,                       §
  LTD., et al.,                                      §
                                                     §
         Defendants.

                                      FINAL BAR ORDER

        Before the Court is the Expedited Request for Entry of Scheduling Order and Motion to

 Approve Proposed Settlement with Hunton & Williams LLP, to Approve the Proposed Notice of

 Settlement with Hunton & Williams LLP, to Enter the Bar Order, to Enter the Rule 54(b) Final

 Judgment and Bar Order, and for Plaintiffs’ Attorneys’ Fees (the “Motion”) of Ralph S. Janvey,

 in his capacity as the Court-appointed Receiver for the Stanford Receivership Estate (the

 “Receiver”), the Court-appointed Official Stanford Investors Committee (the “Committee”), Pam

 Reed, Samuel Troice, and Michoacan Trust individually and on behalf of a putative class of

 Stanford investors (collectively, the “Investor Plaintiffs”), the plaintiffs in Janvey et al. v.

 Greenberg Traurig, LLP et al., Civil Action No. 3:12-cv-04641-N (N.D. Tex.) (the “Litigation”)

 (collectively, the Receiver, the Committee and the Investor Plaintiffs are referred to as the

 “Plaintiffs”). [ECF No. ____.] The Motion concerns a proposed settlement (the “Settlement”)

 among and between the Plaintiffs and Hunton & Williams LLP (“Hunton”), one of the

 defendants in the Litigation. Plaintiffs and Hunton are referred to together as the “Parties.” John




                                                                                      EXHIBIT B
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 J. Little, the Court-appointed Examiner (the “Examiner”) signed the Settlement Agreement1 as

 chair of the Committee and as Examiner solely to evidence his support and approval of the

 Settlement and to confirm his obligation to post the Notice on his website, but is not otherwise

 individually a party to the Settlement or the Litigation.

          Following notice and a hearing, and having considered the filings and heard the

 arguments of counsel, the Court hereby GRANTS the Motion.

 I. INTRODUCTION

          The Litigation and this case both arise from a series of events leading to the collapse of

 Stanford International Bank, Ltd. (“SIBL”). On February 16, 2009, this Court appointed Ralph S.

 Janvey to be the Receiver for SIBL and related parties (the “Stanford Entities”). [ECF No. 10].

 After years of diligent investigation, the Plaintiffs believe that they have identified claims against

 a number of third parties, including Hunton, that Plaintiffs allege enabled the Stanford Ponzi

 scheme. In the Litigation, the Plaintiffs assert claims against Hunton, and other defendants in

 that action, for negligence, aiding and abetting breaches of fiduciary duties, breaches of fiduciary

 duties, fraudulent transfer/unjust enrichment, aiding and abetting fraudulent transfers, negligent

 retention, aiding and abetting violations of the Texas Securities Act, aiding and abetting a

 fraudulent scheme, and civil conspiracy.2 Hunton denies that it is liable for any of those claims

 and asserts numerous defenses to each of those claims.


 1
   The “Settlement Agreement” refers to the Settlement Agreement that is attached as Exhibit 1 of the Appendix to
 the Motion [ECF No. __].
 2
   By Orders in the Litigation dated December 17, 2014 [ECF No. 114] and February 4, 2015 [ECF No. 123], the
 Court granted in part and denied in part Hunton’s motions to dismiss the Complaint, dismissing with prejudice (i)
 the Receiver and Committee’s claims for aiding and abetting fraudulent transfers; (ii) the Investor Plaintiffs’ TSA
 claims for aiding and abetting and civil conspiracy for the sale of unregistered securities and the sale of securities by
 an unregistered dealer arising from sales taking place prior to February 1, 2008; (iii) the Investor Plaintiffs’ TSA
 claims for aiding and abetting and civil conspiracy for the sale of securities through untruth or omission arising from

 F INAL B AR O RDER                                         2

                                                                                                          EXHIBIT B
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         Multiparty settlement negotiations occurred in late 2012, in October 2016, and again in

 early 2017. In these negotiations, potential victims of the Stanford Ponzi scheme were well-

 represented. The Investor Plaintiffs, the Committee—which the Court appointed to “represent[]

 in this case and related matters” the “customers of SIBL who, as of February 16, 2009, had funds

 on deposit at SIBL and/or were holding certificates of deposit issued by SIBL (the ‘Stanford

 Investors’)” [ECF No. 1149]—the Receiver, and the Examiner—who the Court appointed to

 advocate on behalf of “investors in any financial products, accounts, vehicles or ventures

 sponsored, promoted or sold by any Defendant in this action” [ECF No. 322]—all participated in

 these extensive, arm’s-length negotiations. In May 2017, the Parties reached agreement resulting

 in the Settlement. For several weeks thereafter, the Parties continued efforts to negotiate and

 document the terms of the Settlement Agreement. The Parties executed the Settlement

 Agreement on _______________, 2017.

         Under the terms of the Settlement, Hunton will pay $34 million (the “Settlement

 Amount”) to the Receivership Estate, which (less attorneys’ fees and expenses) will be

 distributed to Stanford Investors. In return, Hunton seeks total peace with respect to all claims

 that have been, or could have been, asserted against Hunton or any other of the Hunton Released

 Parties, arising out of the events leading to these proceedings. Accordingly, the Settlement is

 conditioned on the Court’s approval and entry of this Final Bar Order enjoining Interested Parties

 from asserting or prosecuting claims against Hunton or any other of the Hunton Released Parties.

         On ____ __, 2017, the Plaintiffs filed the Motion. [ECF No. ____]. The Court thereafter

 entered a Scheduling Order on____ __, 2017 [ECF No. ____], which, inter alia, authorized the


 sales taking place prior to February 1, 2006; dismissing without prejudice the Receiver and Committee’s claims for
 breach of fiduciary duty, and declining to dismiss the Plaintiffs’ other claims against Hunton.


 F INAL B AR O RDER                                       3

                                                                                                     EXHIBIT B
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 Receiver to provide notice of the Settlement, established a briefing schedule on the Motion, and

 set the date for a hearing. On ________________, the Court held the scheduled hearing. For the

 reasons set forth herein, the Court finds that the terms of the Settlement Agreement are adequate,

 fair, reasonable, and equitable, and that the Settlement should be and is hereby APPROVED.

 The Court further finds that entry of this Final Bar Order is appropriate and necessary.

 II. ORDER

 It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

        1.      Terms used in this Final Bar Order that are defined in the Settlement Agreement,

 unless expressly otherwise defined herein, have the same meaning as in the Settlement

 Agreement (which is deemed incorporated herein by reference).

        2.      The Court has “broad powers and wide discretion to determine the appropriate

 relief in [this] equity receivership,” including the authority to enter the Final Bar Order. SEC v.

 Kaleta, 530 F. App’x 360, 362 (5th Cir. 2013) (internal quotations omitted). Moreover, the

 Court has jurisdiction over the subject matter of this action, and the Plaintiffs are proper parties

 to seek entry of this Final Bar Order.

        3.      The Court finds that the methodology, form, content, and dissemination of the

 Notice: (i) were implemented in accordance with the requirements of the Scheduling Order;

 (ii) constituted the best practicable notice; (iii) were reasonably calculated, under the

 circumstances, to apprise all Interested Parties of the Settlement, the releases therein, and the

 injunctions provided for in this Final Bar Order and in the Rule 54(b) Final Judgment and Bar

 Order to be entered in the Litigation; (iv) were reasonably calculated, under the circumstances, to

 apprise all Interested Parties of the right to object to the Settlement, this Final Bar Order, and the

 Rule 54(b) Final Judgment and Bar Order to be entered in the Litigation, and to appear at the

 F INAL B AR O RDER                                4

                                                                                         EXHIBIT B
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 Final Approval Hearing; (v) were reasonable and constituted due, adequate, and sufficient notice;

 (vi) met all applicable requirements of law, including, without limitation, the Federal Rules of

 Civil Procedure, the United States Constitution (including Due Process), and the Rules of the

 Court; and (vii) provided to all Persons a full and fair opportunity to be heard on these matters.

        4.      The Court finds that the Settlement, including, without limitation, the Settlement

 Amount, was reached following an extensive investigation of the facts and resulted from

 vigorous, good faith, arm’s-length, mediated negotiations involving experienced and competent

 counsel. The Court further finds that (i) significant issues exist as to the merits and value of the

 claims asserted against Hunton by Plaintiffs and by others whose potential claims are foreclosed

 by this Final Bar Order; (ii) such claims contain complex and novel issues of law and fact that

 would require a substantial amount of time and expense to litigate, with uncertainty regarding

 whether such claims would be successful; (iii) a significant risk exists that future litigation costs

 would dissipate Receivership Assets and that Plaintiffs and other persons who have submitted

 claims to the Receiver (“Claimants”) may not ultimately prevail on their claims; (iv) Plaintiffs

 and Claimants who have filed Claims with the Receiver will receive partial satisfaction of their

 claims from the Settlement Amount being paid pursuant to the Settlement; and (v) Hunton would

 not have agreed to the terms of the Settlement in the absence of this Final Bar Order and

 assurance of “total peace” with respect to all claims that have been, or could be, asserted arising

 from its relationship with the Stanford Entities. See SEC v. Kaleta, No. 4:09-3674, 2012 WL

 401069, at *4 (S.D. Tex. Feb. 7, 2012), aff’d, 530 F. App’x 360 (5th Cir. 2013) (approving these

 factors for consideration in evaluating whether a settlement and bar order are sufficient, fair, and

 necessary). The injunction against such claims as set forth herein is therefore a necessary and

 appropriate order ancillary to the relief obtained for victims of the Stanford Ponzi scheme

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 pursuant to the Settlement.     See Kaleta, 530 F. App’x at 362 (affirming a bar order and

 injunction against investor claims as “ancillary relief’ to a settlement in an SEC receivership

 proceeding). After careful consideration of the record and applicable law, the Court concludes

 that the Settlement is the best option for maximizing the net amount recoverable from Hunton for

 the Receivership Estate, Plaintiffs, and the Claimants.

        5.      Pursuant to the Settlement Agreement and upon motion by the Receiver, this

 Court will approve a Distribution Plan that will fairly and reasonably distribute the net proceeds

 of the Settlement to Stanford Investors who have Claims approved by the Receiver. The Court

 finds that the Receiver’s claims process and the Distribution Plan contemplated in the Settlement

 Agreement have been designed to ensure that all Stanford Investors have received an opportunity

 to pursue their Claims through the Receiver’s claims process previously approved by the Court

 [ECF No. 1584].

        6.      The Court further finds that the Parties and their counsel have at all times

 complied with the requirements of Rule 11 of the Federal Rules of Civil Procedure.

        7.      Accordingly, the Court finds that the Settlement is, in all respects, fair,

 reasonable, and adequate, and in the best interests of all Persons claiming an interest in, having

 authority over, or asserting a claim against Hunton, the Stanford Entities, or the Receivership

 Estate, including but not limited to the Plaintiffs and the Interested Parties. The Court also finds

 that this Final Bar Order is a necessary component to achieve the Settlement. The Settlement, the

 terms of which are set forth in the Settlement Agreement, is hereby fully and finally approved.

 The Parties are directed to implement and consummate the Settlement in accordance with the

 terms and provisions of the Settlement Agreement and this Final Bar Order.



 F INAL B AR O RDER                               6

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        8.      Pursuant to the provisions of 38 of the Settlement Agreement, as of the Settlement

 Effective Date, Hunton and the rest of the Hunton Released Parties shall be completely released,

 acquitted, and forever discharged from any action, cause of action, suit, liability, claim, right of

 action, or demand whatsoever, whether or not currently asserted, known, suspected, existing, or

 discoverable, and whether based on federal law, state law, foreign law, common law, or

 otherwise, and whether based on contract, tort, statute, law, equity or otherwise, that the Investor

 Plaintiffs; the Receiver; the Receivership Estate; the Committee; the Claimants; and the Persons,

 entities and interests represented by those Parties ever had, now has, or hereafter can, shall, or

 may have, directly, representatively, derivatively, or in any other capacity, for, upon, arising

 from, relating to, or by reason of any matter, cause, or thing whatsoever, that, in full or in part,

 concerns, relates to, arises out of, or is in any manner connected with (i) the Stanford Entities;

 (ii) any certificate of deposit, depository account, or investment of any type with any one or more

 of the Stanford Entities; (iii) Hunton’s relationship with any one or more of the Stanford Entities

 and/or any of their personnel; (iv) Hunton’s provision of services to or for the benefit of or on

 behalf of the Stanford Entities; or (v) any matter that was asserted in, could have been asserted

 in, or relates to the subject matter of this action, the Litigation, or any proceeding concerning the

 Stanford Entities pending or commenced in any Forum.

        9.      Pursuant to the provisions of Paragraph 39 of the Settlement Agreement, as of the

 Settlement Effective Date, the Plaintiffs Released Parties shall be completely released, acquitted,

 and forever discharged from all Settled Claims by Hunton.

        10.     Notwithstanding anything to the contrary in this Final Bar Order, the foregoing

 releases do not release the Parties’ rights and obligations under the Settlement or the Settlement

 Agreement or bar the Parties from enforcing or effectuating the terms of the Settlement or the

 F INAL B AR O RDER                               7

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 Settlement Agreement. Additionally, the foregoing releases do not release any claims or causes

 of action that Plaintiffs have or may have against Greenberg Traurig, LLP (“Greenberg”), or

 Yolanda Suarez (“Suarez”), including but not limited to any claims or causes of action based on

 the conduct of Carlos Loumiet while employed by or affiliated with Greenberg. Further, the

 foregoing releases do not bar or release any claims, including but not limited to the Settled

 Claims, that Hunton or Carlos Loumiet may have against any Hunton Released Party, including

 but not limited to Hunton’s insurers, reinsurers, employees, and agents.

          11.     The Court hereby permanently bars, restrains, and enjoins the Plaintiffs, the

 Claimants, the Interested Parties, and all other Persons or entities anywhere in the world, whether

 acting in concert with the foregoing or claiming by, through, or under the foregoing, or

 otherwise, all and individually, from directly, indirectly, or through a third party, instituting,

 reinstituting,   intervening   in,   initiating,   commencing,   maintaining,   continuing,   filing,

 encouraging, soliciting, supporting, participating in, collaborating in, or otherwise prosecuting,

 against Hunton or any of the Hunton Released Parties, the Litigation, or any action, lawsuit,

 cause of action, claim, investigation, demand, levy, complaint, or proceeding of any nature in

 any Forum, including, without limitation, any court of first instance or any appellate court,

 whether individually, derivatively, on behalf of a class, as a member of a class, or in any other

 capacity whatsoever, that in any way relates to, is based upon, arises from, or is connected with

 the Stanford Entities; this case; the subject matter of this case; the Litigation; or any Settled

 Claim.     The foregoing specifically includes any claim, however denominated, seeking

 contribution, indemnity, damages, or other remedy where the alleged injury to such Person,

 entity, or Interested Party, or the claim asserted by such Person, entity, or Interested Party, is

 based upon such Person’s, entity’s, or Interested Party’s liability to any Plaintiff, Claimant, or

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 Interested Party arising out of, relating to, or based in whole or in part upon money owed,

 demanded, requested, offered, paid, agreed to be paid, or required to be paid to any Plaintiff,

 Claimant, Interested Party, or other Person or entity, whether pursuant to a demand, judgment,

 claim, agreement, settlement or otherwise. Notwithstanding the foregoing, there shall be no bar

 of any claims, including but not limited to the Settled Claims, that Hunton or Carlos Loumiet

 may have against any Hunton Released Party, including but not limited to Hunton’s insurers,

 reinsurers, employees and agents. Additionally, the foregoing shall not affect the Plaintiffs’

 claims against Greenberg or Suarez, including but not limited to any claims or causes of action

 based on the conduct of Carlos Loumiet while employed by or affiliated with Greenberg.

 Further, the Parties retain the right to sue for alleged breaches of the Settlement Agreement.

        12.     The releases and the covenants not to sue set forth in the Settlement Agreement,

 and the releases, bars, injunctions, and restraints set forth in this Final Bar Order, do not limit in

 any way the evidence that Plaintiffs may offer against the remaining defendants in the Litigation.

        13.     Nothing in this Final Bar Order shall impair or affect or be construed to impair or

 affect in any way whatsoever, any right of any Person, entity, or Interested Party to: (a) claim a

 credit or offset, however determined or quantified, if and to the extent provided by any

 applicable statute, code, or rule of law, against any judgment amount, based upon the Settlement

 or payment of the Settlement Amount; (b) designate a “responsible third party” or “settling

 person” under Chapter 33 of the Texas Civil Practice and Remedies Code; or (c) take discovery

 under applicable rules in litigation; provided for the avoidance of doubt that nothing in this

 paragraph shall be interpreted to permit or authorize any action or claim seeking to impose any

 liability of any kind (including but not limited to liability for contribution, indemnification or

 otherwise) upon Hunton or any other Hunton Released Party.

 F INAL B AR O RDER                                9

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        14.     Hunton and the rest of the Hunton Released Parties have no responsibility,

 obligation, or liability whatsoever with respect to the content of the Notice; the notice process;

 the Distribution Plan; the implementation of the Distribution Plan; the administration of the

 Settlement; the management, investment, distribution, allocation, or other administration or

 oversight of the Settlement Amount, any other funds paid or received in connection with the

 Settlement, or any portion thereof; the payment or withholding of Taxes; the determination,

 administration, calculation, review, or challenge of claims to the Settlement Amount, any portion

 of the Settlement Amount, or any other funds paid or received in connection with the Settlement

 or the Settlement Agreement; or any losses, attorneys’ fees, expenses, vendor payments, expert

 payments, or other costs incurred in connection with any of the foregoing matters. No appeal,

 challenge, decision, or other matter concerning any subject set forth in this paragraph shall

 operate to terminate or cancel the Settlement, the Settlement Agreement, or this Final Bar Order.

        15.     Nothing in this Final Bar Order or the Settlement Agreement and no aspect of the

 Settlement or negotiation or mediation thereof is or shall be construed to be an admission or

 concession of any violation of any statute or law, of any fault, liability, or wrongdoing, or of any

 infirmity in the claims or defenses of the Parties with regard to any of the complaints, claims,

 allegations, or defenses in the Litigation, or any other proceeding.

        16.     Hunton is hereby ordered to deliver or cause to be delivered the Settlement

 Amount ($34 million) as described in Paragraph 24 of the Settlement Agreement. Further, the

 Parties are ordered to act in conformity with all other provisions of the Settlement Agreement.

        17.     Without in any way affecting the finality of this Final Bar Order, the Court retains

 continuing and exclusive jurisdiction over the Parties for purposes of, among other things, the

 administration, interpretation, consummation, and enforcement of the Settlement, the Settlement

 F INAL B AR O RDER                               10

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 Agreement, the Scheduling Order, and this Final Bar Order, including, without limitation, the

 injunctions, bar orders, and releases herein, and to enter orders concerning implementation of the

 Settlement, the Settlement Agreement, the Distribution Plan, and any payment of attorneys’ fees

 and expenses to Plaintiffs’ counsel.

        18.     The Court expressly finds and determines, pursuant to Federal Rule of Civil

 Procedure 54(b), that there is no just reason for any delay in the entry of this Final Bar Order,

 which is both final and appealable, and immediate entry by the Clerk of the Court is expressly

 directed.

        19.     This Final Bar Order shall be served by counsel for the Plaintiffs, via email, first

 class mail or international delivery service, on any person or entity that filed an objection to

 approval of the Settlement, the Settlement Agreement, or this Final Bar Order.



 Signed on ____________________


                                                      __________________________________
                                                      DAVID C. GODBEY
                                                      UNITED STATES DISTRICT JUDGE




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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION



 RALPH S. JANVEY, in his capacity as Court-
 appointed receiver for the Stanford Receivership
 Estate; the OFFICIAL STANFORD
 INVESTORS COMMITTEE; PAM REED;
 SAMUEL TROICE; and MICHOACAN TRUST;
 individually and on behalf of a class of all others
 similarly situated,
                                                           Civil Action No. 3:12-cv-04641-N

  v.

 GREENBERG TRAURIG, LLP; HUNTON &
 WILLIAMS, LLP; AND YOLANDA SUAREZ,




                     RULE 54(b) FINAL JUDGMENT AND BAR ORDER

        Before the Court is the Expedited Request for Entry of Scheduling Order and Motion to

 Approve Proposed Settlement with Hunton & Williams LLP, to Approve the Proposed Notice of

 Settlement with Hunton & Williams LLP, to Enter the Bar Order, to Enter the Rule 54(b) Final

 Judgment and Bar Order, and for Plaintiffs’ Attorneys’ Fees (the “Motion”) of Plaintiffs Ralph S.

 Janvey, in his capacity as the Court-appointed Receiver for the Stanford Receivership Estate (the

 “Receiver”) in SEC v. Stanford International Bank, Ltd., Civil Action No. 3:09-CV-0928-N (the

 “SEC Action”), the Court-appointed Official Stanford Investors Committee (the “Committee”),

 and Pam Reed, Samuel Troice, and Michoacan Trust individually and on behalf of a putative

 class of Stanford investors (collectively, the “Investor Plaintiffs”) (collectively, the Receiver, the

 Committee and the Investor Plaintiffs are referred to as the “Plaintiffs”). [ECF No. ____.] The




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 Motion concerns a proposed settlement (the “Settlement”) among and between the Plaintiffs and

 Hunton & Williams LLP (“Hunton”), one of the defendants in this action. Plaintiffs and Hunton

 are referred to together as the “Parties.” John J. Little, the Court-appointed Examiner (the

 “Examiner”) signed the Settlement Agreement1 as chair of the Committee and as Examiner

 solely to evidence his support and approval of the Settlement and to confirm his obligation to

 post the Notice on his website, but is not otherwise individually a party to the Settlement or this

 action.

            Following notice and a hearing, and having considered the filings and heard the

 arguments of counsel, the Court hereby GRANTS the Motion.

 I.         INTRODUCTION

            The SEC Action and this case both arise from a series of events leading to the collapse of

 Stanford International Bank, Ltd. (“SIBL”). On February 16, 2009, this Court appointed Ralph S.

 Janvey to be the Receiver for SIBL and related parties (the “Stanford Entities”). [SEC Action,

 ECF No. 10]. After years of diligent investigation, the Plaintiffs believe that they have identified

 claims against a number of third parties, including Hunton, that Plaintiffs allege enabled the

 Stanford Ponzi scheme. In this action, the Plaintiffs assert claims against Hunton, and other

 defendants, for negligence, aiding and abetting breaches of fiduciary duties, breaches of

 fiduciary duties, fraudulent transfer/unjust enrichment, aiding and abetting fraudulent transfers,

 negligent retention, aiding and abetting violations of the Texas Securities Act (“TSA”), aiding




 1
     The “Settlement Agreement” refers to the Settlement Agreement that is attached as Exhibit 1 of the Appendix to
     the Motion [ECF No. __].


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 and abetting a fraudulent scheme, and civil conspiracy.2 Hunton denies that it is liable for any of

 those claims and asserts numerous defenses to each of those claims.

             Multiparty settlement negotiations occurred in late 2012, in October 2016, and again in

 early 2017. In these negotiations, potential victims of the Stanford Ponzi scheme were well-

 represented. The Investor Plaintiffs, the Committee—which the Court appointed to “represent[]

 in this case and related matters” the “customers of SIBL who, as of February 16, 2009, had funds

 on deposit at SIBL and/or were holding certificates of deposit issued by SIBL (the ‘Stanford

 Investors’)” [SEC Action, ECF No. 1149]—the Receiver, and the Examiner—who the Court

 appointed to advocate on behalf of “investors in any financial products, accounts, vehicles or

 ventures sponsored, promoted or sold by any Defendant in this action” [SEC Action, ECF No.

 322]—all participated in these extensive, arm’s-length negotiations. In May 2017, the Parties

 reached agreement resulting in the Settlement.                      For several weeks thereafter, the Parties

 continued efforts to negotiate and document the terms of the Settlement Agreement. The Parties

 executed the Settlement Agreement on _______________, 2017.

             Under the terms of the Settlement, Hunton will pay $34 million (the “Settlement

 Amount”) to the Receivership Estate, which (less attorneys’ fees and expenses) will be

 distributed to Stanford Investors. In return, Hunton seeks total peace with respect to all claims

 that have been, or could have been, asserted against Hunton or any other of the Hunton Released

 Parties, arising out of the events leading to these proceedings. Accordingly, the Settlement is


 2
      By Orders dated December 17, 2014 [ECF No. 114] and February 4, 2015 [ECF No. 123], the Court granted in
     part and denied in part Hunton’s motions to dismiss the Complaint, dismissing with prejudice (i) the Receiver and
     Committee’s claims for aiding and abetting fraudulent transfers; (ii) the Investor Plaintiffs’ TSA claims for aiding
     and abetting and civil conspiracy for the sale of unregistered securities and the sale of securities by an unregistered
     dealer arising from sales taking place prior to February 1, 2008; (iii) the Investor Plaintiffs’ TSA claims for aiding
     and abetting and civil conspiracy for the sale of securities through untruth or omission arising from sales taking
     place prior to February 1, 2006; dismissing without prejudice the Receiver and Committee’s claims for breach of
     fiduciary duty, and declining to dismiss the Plaintiffs’ other claims against Hunton.


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 conditioned on the Court’s approval and entry of this Final Judgment and Bar Order enjoining

 Interested Parties from asserting or prosecuting claims against Hunton or any other of the Hunton

 Released Parties.

        On ____ __, 2017, the Plaintiffs filed the Motion. [ECF No. ____]. The Court thereafter

 entered a Scheduling Order on____ __, 2017 [ECF No. ____], which, inter alia, authorized the

 Receiver to provide notice of the Settlement, established a briefing schedule on the Motion, and

 set the date for a hearing. On ____________, the Court held the scheduled hearing. For the

 reasons set forth herein, the Court finds that the terms of the Settlement Agreement are adequate,

 fair, reasonable, and equitable, and that the Settlement should be and is hereby APPROVED.

 The Court further finds that entry of this Final Judgment and Bar Order is appropriate and

 necessary.

 II.    ORDER

        It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

        1.      Terms used in this Final Judgment and Bar Order that are defined in the

 Settlement Agreement, unless expressly otherwise defined herein, have the same meaning as in

 the Settlement Agreement (which is deemed incorporated herein by reference).

        2.      The Court has “broad powers and wide discretion to determine the appropriate

 relief in [this] equity receivership,” including the authority to enter the Final Judgment and Bar

 Order. SEC v. Kaleta, 530 F. App’x 360, 362 (5th Cir. 2013) (internal quotations omitted).

 Moreover, the Court has jurisdiction over the subject matter of this action, and the Plaintiffs are

 proper parties to seek entry of this Final Judgment and Bar Order.

        3.      The Court finds that the methodology, form, content and dissemination of the

 Notice: (i) were implemented in accordance with the requirements of the Scheduling Order;



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 (ii) constituted the best practicable notice; (iii) were reasonably calculated, under the

 circumstances, to apprise all Interested Parties of the Settlement, the releases therein, and the

 injunctions provided for in this Final Judgment and Bar Order and in the Final Bar Order to be

 entered in the SEC Action; (iv) were reasonably calculated, under the circumstances, to apprise

 all Interested Parties of the right to object to the Settlement, this Final Judgment and Bar Order,

 and the Final Bar Order to be entered in the SEC Action, and to appear at the Final Approval

 Hearing; (v) were reasonable and constituted due, adequate, and sufficient notice; (vi) met all

 applicable requirements of law, including, without limitation, the Federal Rules of Civil

 Procedure, the United States Constitution (including Due Process), and the Rules of the Court;

 and (vii) provided to all Persons a full and fair opportunity to be heard on these matters.

        4.      The Court finds that the Settlement, including, without limitation, the Settlement

 Amount, was reached following an extensive investigation of the facts and resulted from

 vigorous, good-faith, arm’s-length, mediated negotiations involving experienced and competent

 counsel. The Court further finds that (i) significant issues exist as to the merits and value of the

 claims asserted against Hunton by Plaintiffs and by others whose potential claims are foreclosed

 by this Final Judgment and Bar Order; (ii) such claims contain complex and novel issues of law

 and fact that would require a substantial amount of time and expense to litigate, with uncertainty

 regarding whether such claims would be successful; (iii) a significant risk exists that future

 litigation costs would dissipate Receivership Assets and that Plaintiffs and other persons who

 have submitted claims to the Receiver (“Claimants”) may not ultimately prevail on their claims;

 (iv) Plaintiffs and Claimants who have filed Claims with the Receiver will receive partial

 satisfaction of their claims from the Settlement Amount being paid pursuant to the Settlement;

 and (v) Hunton would not have agreed to the terms of the Settlement in the absence of this Final



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 Judgment and Bar Order unless it was assured of “total peace” with respect to all claims that

 have been, or could be, asserted arising from its relationship with the Stanford Entities. See SEC

 v. Kaleta, No. 4:09-3674, 2012 WL 401069, at *4 (S.D. Tex. Feb. 7, 2012), aff’d, 530 F. App’x

 360 (5th Cir. 2013) (approving these factors for consideration in evaluating whether a settlement

 and bar order are sufficient, fair, and necessary). The injunction against such claims as set forth

 herein is therefore a necessary and appropriate order ancillary to the relief obtained for victims of

 the Stanford Ponzi scheme pursuant to the Settlement. See Kaleta, 530 F. App’x at 362

 (affirming a bar order and injunction against investor claims as “ancillary relief’ to a settlement

 in an SEC receivership proceeding). After careful consideration of the record and applicable

 law, the Court concludes that the Settlement is the best option for maximizing the net amount

 recovered from Hunton for the Receivership Estate, Plaintiffs, and the Claimants.

        5.      Pursuant to the Settlement Agreement and upon motion by the Receiver in the

 SEC Action, this Court will approve a Distribution Plan that will fairly and reasonably distribute

 the net proceeds of the Settlement to Stanford Investors who have Claims approved by the

 Receiver. The Court finds that the Receiver’s claims process and the Distribution Plan

 contemplated in the Settlement Agreement have been designed to ensure that all Stanford

 Investors have received an opportunity to pursue their Claims through the Receiver’s claims

 process previously approved by the Court [SEC Action, ECF No. 1584].

        6.      The Court further finds that the Parties and their counsel have at all times

 complied with the requirements of Rule 11 of the Federal Rules of Civil Procedure.

        7.      Accordingly, the Court finds that the Settlement is, in all respects, fair,

 reasonable, and adequate, and in the best interests of all Persons claiming an interest in, having

 authority over, or asserting a claim against Hunton, the Stanford Entities, or the Receivership



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 Estate, including but not limited to the Plaintiffs and the Interested Parties. The Court also finds

 that this Final Judgment and Bar Order is a necessary component to achieve the Settlement. The

 Settlement, the terms of which are set forth in the Settlement Agreement, is hereby fully and

 finally approved. The Parties are directed to implement and consummate the Settlement in

 accordance with the terms and provisions of the Settlement Agreement and this Final Judgment

 and Bar Order.

        8.        Pursuant to the provisions of Paragraph 38 of the Settlement Agreement, as of the

 Settlement Effective Date, Hunton and the rest of the Hunton Released Parties shall be

 completely released, acquitted, and forever discharged from any action, cause of action, suit,

 liability, claim, right of action, or demand whatsoever, whether or not currently asserted, known,

 suspected, existing, or discoverable, and whether based on federal law, state law, foreign law,

 common law, or otherwise, and whether based on contract, tort, statute, law, equity or otherwise,

 that the Investor Plaintiffs; the Receiver; the Receivership Estate; the Committee; the Claimants;

 and the Persons, entities and interests represented by those Parties ever had, now has, or hereafter

 can, shall, or may have, directly, representatively, derivatively, or in any other capacity, for,

 upon, arising from, relating to, or by reason of any matter, cause, or thing whatsoever, that, in

 full or in part, concerns, relates to, arises out of, or is in any manner connected with (i) the

 Stanford Entities; (ii) any certificate of deposit, depository account, or investment of any type

 with any one or more of the Stanford Entities; (iii) Hunton’s relationship with any one or more of

 the Stanford Entities; (iv) Hunton’s provision of services to or for the benefit of or on behalf of

 the Stanford Entities; or (v) any matter that was asserted in, could have been asserted in, or

 relates to the subject matter of this action, the SEC Action, or any proceeding concerning the

 Stanford Entities pending or commenced in any Forum.



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           9.    Pursuant to the provisions of Paragraph 39 of the Settlement Agreement, as of the

 Settlement Effective Date, the Plaintiffs Released Parties shall be completely released, acquitted,

 and forever discharged from all Settled Claims by Hunton.

           10.   Notwithstanding anything to the contrary in this Final Judgment and Bar Order,

 the foregoing releases do not release the Parties’ rights and obligations under the Settlement or

 the Settlement Agreement or bar the Parties from enforcing or effectuating the terms of the

 Settlement or the Settlement Agreement. Additionally, the foregoing releases do not release any

 claims or causes of action that Plaintiffs have or may have against Greenberg Traurig, LLP

 (“Greenberg”), or Yolanda Suarez (“Suarez”), including but not limited to any claims or causes

 of action based on the conduct of Carlos Loumiet while employed by or affiliated with

 Greenberg. Further, the foregoing releases do not bar or release any claims, including but not

 limited to the Settled Claims, that Hunton or Carlos Loumiet may have against any Hunton

 Released Party, including but not limited to Hunton’s insurers, reinsurers, employees, and

 agents.

           11.   The Court hereby permanently bars, restrains, and enjoins the Receiver, the

 Committee, the Investor Plaintiffs, the Claimants, the Interested Parties, and all other Persons or

 entities anywhere in the world, whether acting in concert with the foregoing or claiming by,

 through, or under the foregoing, or otherwise, all and individually, from directly, indirectly, or

 through a third party, instituting, reinstituting, intervening in, initiating, commencing,

 maintaining, continuing, filing, encouraging, soliciting, supporting, participating in,

 collaborating in, or otherwise prosecuting, against Hunton or any of the Hunton Released Parties,

 this action, or any action, lawsuit, cause of action, claim, investigation, demand, levy, complaint,

 or proceeding of any nature in any Forum, including, without limitation, any court of first



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 instance or any appellate court, whether individually, derivatively, on behalf of a class, as a

 member of a class, or in any other capacity whatsoever, that in any way relates to, is based upon,

 arises from, or is connected with the Stanford Entities; this case; the SEC Action; the subject

 matter of this case or the SEC Action; or any Settled Claim. The foregoing specifically includes

 any claim, however denominated, seeking contribution, indemnity, damages, or other remedy

 where the alleged injury to such Person, entity, or Interested Party, or the claim asserted by such

 Person, entity, or Interested Party, is based upon such Person’s, entity’s, or Interested Party’s

 liability to any Plaintiff, Claimant, or Interested Party arising out of, relating to, or based in

 whole or in part upon money owed, demanded, requested, offered, paid, agreed to be paid, or

 required to be paid to any Plaintiff, Claimant, Interested Party, or other Person or entity, whether

 pursuant to a demand, judgment, claim, agreement, settlement or otherwise. Notwithstanding the

 foregoing, there shall be no bar of any claims, including but not limited to the Settled Claims,

 that Hunton or Carlos Loumiet may have against any Hunton Released Party, including but not

 limited to Hunton’s insurers, reinsurers, employees and agents. Additionally, the foregoing shall

 not affect the Plaintiffs’ claims against Greenberg or Suarez, including but not limited to any

 claims or causes of action based on the conduct of Carlos Loumiet while employed by or

 affiliated with Greenberg. Further, the Parties retain the right to sue for alleged breaches of the

 Settlement Agreement.

         12.     The releases and the covenants not to sue set forth in the Settlement Agreement,

 and the releases, bars, injunctions, and restraints set forth in this Final Judgment and Bar Order,

 do not limit in any way the evidence that Plaintiffs may offer against the remaining defendants in

 this action.




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        13.       Nothing in this Final Judgment and Bar Order shall impair or affect or be

 construed to impair or affect in any way whatsoever, any right of any Person, entity, or Interested

 Party to: (a) claim a credit or offset, however determined or quantified, if and to the extent

 provided by any applicable statute, code, or rule of law, against any judgment amount, based

 upon the Settlement or payment of the Settlement Amount; (b) designate a “responsible third

 party” or “settling person” under Chapter 33 of the Texas Civil Practice and Remedies Code; or

 (c) take discovery under applicable rules in litigation; provided for the avoidance of doubt that

 nothing in this paragraph shall be interpreted to permit or authorize any action or claim seeking

 to impose any liability of any kind (including but not limited to liability for contribution,

 indemnification or otherwise) upon Hunton or any other Hunton Released Party.

        14.       Hunton and the rest of the Hunton Released Parties have no responsibility,

 obligation, or liability whatsoever with respect to the content of the Notice; the notice process;

 the Distribution Plan; the implementation of the Distribution Plan; the administration of the

 Settlement; the management, investment, distribution, allocation, or other administration or

 oversight of the Settlement Amount, any other funds paid or received in connection with the

 Settlement, or any portion thereof; the payment or withholding of Taxes; the determination,

 administration, calculation, review, or challenge of claims to the Settlement Amount, any portion

 of the Settlement Amount, or any other funds paid or received in connection with the Settlement

 or the Settlement Agreement; or any losses, attorneys’ fees, expenses, vendor payments, expert

 payments, or other costs incurred in connection with any of the foregoing matters. No appeal,

 challenge, decision, or other matter concerning any subject set forth in this paragraph shall

 operate to terminate or cancel the Settlement, the Settlement Agreement, or this Final Judgment

 and Bar Order.



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        15.     Nothing in this Final Judgment and Bar Order or the Settlement Agreement and

 no aspect of the Settlement or negotiation or mediation thereof is or shall be construed to be an

 admission or concession of any violation of any statute or law, of any fault, liability, or

 wrongdoing, or of any infirmity in the claims or defenses of the Parties with regard to any of the

 complaints, claims, allegations, or defenses in this action, or any other proceeding.

        16.     Hunton is hereby ordered to deliver or cause to be delivered the Settlement

 Amount ($34 million) as described in Paragraph 24 of the Settlement Agreement. Further, the

 Parties are ordered to act in conformity with all other provisions of the Settlement Agreement.

        17.     Without in any way affecting the finality of this Final Judgment and Bar Order,

 the Court retains continuing and exclusive jurisdiction over the Parties for purposes of, among

 other things, the administration, interpretation, consummation, and enforcement of the

 Settlement, the Settlement Agreement, the Scheduling Order, and this Final Judgment and Bar

 Order, including, without limitation, the injunctions, bar orders, and releases herein, and to enter

 orders concerning implementation of the Settlement, the Settlement Agreement, the Distribution

 Plan, and any payment of attorneys’ fees and expenses to Plaintiffs’ counsel.

        18.     The Court expressly finds and determines, pursuant to Federal Rule of Civil

 Procedure 54(b), that there is no just reason for any delay in the entry of this Final Judgment and

 Bar Order as to Hunton, which is both final and appealable as to Hunton, and immediate entry of

 final judgment as to Hunton by the Clerk of the Court is expressly directed.

        19.     This Final Judgment and Bar Order shall be served by counsel for the Plaintiffs,

 via email, first class mail or international delivery service, on any person or entity that filed an

 objection to approval of the Settlement, the Settlement Agreement, or this Final Judgment and

 Bar Order.



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        20.     All relief as to Hunton not expressly granted herein, other than Plaintiffs’ request

 for approval of Plaintiffs’ attorneys’ fees, which will be addressed by a separate order, is denied.

 This is a final Rule 54(b) judgment. The Clerk of the Court is directed to enter Judgment as to

 Hunton in conformity herewith.



 Signed on ______________________

                                                       ________________________________
                                                       DAVID C. GODBEY
                                                       UNITED STATES DISTRICT JUDGE




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                                       Receivership Entities


 16NE Huntington, LLC                             International Fixed Income Stanford Fund, Ltd.

 20/20 Ltd.                                       The Island Club, LLC

 Antigua Athletic Club Limited                    The Islands Club, Ltd.

 The Antigua Sun Limited                          JS Development, LLC

 Apartment Household, Inc.                        Maiden Island Holdings Ltd.

 Asian Village Antigua Limited                    Miller Golf Company, L.L.C.

 Bank of Antigua Limited                          Parque Cristal Ltd.

 Boardwalk Revitalization, LLC                    Pelican Island Properties Limited

 Buckingham Investments A.V.V.                    Pershore Investments S.A.

 Caribbean Aircraft Leasing (BVI) Limited         Polygon Commodities A.V.V.

 Caribbean Airlines Services Limited              Porpoise Industries Limited

 Caribbean Airlines Services, Inc.                Productos y Servicios Stanford, C.A.

 Caribbean Star Airlines Holdings Limited         R. Allen Stanford, LLC

 Caribbean Star Airlines Limited                  Robust Eagle Limited

 Caribbean Sun Airlines Holdings, Inc.            Sea Eagle Limited

 Casuarina 20 LLC                                 Sea Hare Limited

 Christiansted Downtown Holdings, LLC             SFG Majestic Holdings, LLC

 Crayford Limited                                 SG Ltd.

 Cuckfield Investments Limited                    SGV Asesores C.A.

 Datcom Resources, Inc.                           SGV Ltd.

 Devinhouse, Ltd.                                 Stanford 20*20, LLC

 Deygart Holdings Limited                         Stanford 20/20 Inc.

 Foreign Corporate Holdings Limited               Stanford Acquisition Corporation



                                                                                      EXHIBIT D
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 Guardian International Investment Services       Stanford Aerospace Limited
 No. One, Inc.

 Guardian International Investment Services       Stanford Agency, Ltd. [Louisiana]i
 No. Three, Inc.

 Guardian International Investment Services       Stanford Agency, Inc. [Texas]
 No. Two, Inc.

 Guardian One, Ltd.                               Stanford Agresiva S.A. de C.V.

 Guardian Three, Ltd.                             Stanford Aircraft, LLC

 Guardian Two, Ltd.                               Stanford American Samoa Holding Limited

 Guiana Island Holdings Limited                   Stanford Aviation 5555, LLC

 Harbor Key Corp.                                 Stanford Aviation II, LLC

 Harbor Key Corp. II                              Stanford Aviation III, LLC

 Idea Advertising Group, Inc.                     Stanford Aviation Limited

 Stanford Bank Holdings Limited                   Stanford Aviation LLC

 Stanford Bank, S.A. Banco Comercial              Stanford Bank (Panama), S.A.ii

 Stanford Capital Management, LLC                 Stanford Galleria Buildings Management, LLC

 Stanford Caribbean Investments, LLC              Stanford Gallows Bay Holdings, LLC

 Stanford Caribbean Regional Management           Stanford Global Advisory, LLC
 Holdings, LLC

 Stanford Caribbean, LLC                          Stanford Group (Antigua) Limited

 Stanford Casa de Valores, S.A.                   Stanford Group (Suisse) AG

 Stanford Cobertura, S.A. de C.V.                 Stanford Group Aruba, N.V.

 Stanford Coins & Bullion, Inc.                   Stanford Group Bolivia

 The Stanford Condominium Owners’                 Stanford Group Casa de Valores, S.A.
 Association, Inc.

 Stanford Corporate Holdings International, Inc. Stanford Group Company

 Stanford Corporate Services (BVI) Limited        Stanford Group Company Limited


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 Stanford Corporate Services (Venezuela), C.A.       Stanford Group Holdings, Inc.

 Stanford Corporate Services, Inc.                   Stanford Group Mexico, S.A. de C.V.

 Stanford Corporate Ventures (BVI) Limited           Stanford Group Peru, S.A., Sociedad Agente
                                                     de Bolsa

 Stanford Corporate Ventures, LLC                    Stanford Group Venezuela Asesores de
                                                     Inversion, C.A.

 Stanford Crecimiento Balanceado, S.A. de            Stanford Group Venezuela, C.A.
 C.V.

 Stanford Crecimiento, S.A. de C.V.                  Stanford Holdings Venezuela, C.A.

 Stanford Development Company (Grenada)              Stanford International Bank Holdings Limited
 Ltd.

 Stanford Development Company Limited                Stanford International Bank Limited

 Stanford Development Corporation                    Stanford International Holdings (Panama) S.A.

 Stanford Eagle, LLC                                 Stanford International Management Ltd.

 Stanford Family Office, LLC                         Stanford International Resort Holdings, LLC

 The Stanford Financial Group Building, Inc.         Stanford Investment Advisory Services, Inc.

 Stanford Financial Group Company                    Stanford Leasing Company, Inc.

 Stanford Financial Group Global Management,         Stanford Management Holdings, Ltd.
 LLC

 Stanford Financial Group (Holdings) Limited         Stanford Real Estate Acquisition, LLC

 Stanford Financial Group Limited                    Stanford S.A. Comisionista de Bolsa

 Stanford Financial Group Ltd.                       Stanford Services Ecuador, S.A.

 Stanford Financial Partners Advisors, LLC           Stanford South Shore Holdings, LLC

 Stanford Financial Partners Holdings, LLC           Stanford Sports & Entertainment Holdings,
                                                     LLC

 Stanford Financial Partners Securities, LLC         Stanford St. Croix Marina Operations, LLC

 Stanford Financial Partners, Inc.                   Stanford St. Croix Resort Holdings, LLC



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 Stanford Fondos, S.A. de C.V.                                     Stanford St. Croix Security, LLC

 The Stanford Galleria Buildings, LP                               Stanford Trust Company

 Stanford Trust Holdings Limited                                   Stanford Trust Company Administradora de
                                                                   Fondos y Fideicomisos S.A.

 Stanford Venture Capital Holdings, Inc.                           Stanford Trust Company Limited

 The Sticky Wicket Limited                                         Torre Oeste Ltd.

 Sun Printing & Publishing Limited                                 Torre Senza Nome Venezuela, C.A.

 Sun Printing Limited                                              Trail Partners, LLC

 Stanford Puerto Rico, Inc                                         Two Islands One Club (Grenada) Ltd.

                                                                   Two Islands One Club Holdings Ltd.
 Stanford Latin America LLC

 Stanford Casa de Valores Panama                                   Stanford Financial Group Services, LLC

 Stanford Group Venezuela a/k/a Stanford                           Stanford Group Columbia a/k/a Stanford Bolsa
 Group Venezuela C.A.                                              Y Banca

 Stanford Bank Venezuela                                           Guardian International Bank Ltd.

 Stanford Trust Company Limited d/b/a                              Guardian Trust Company
 Stanford Fiduciary Investment Services
                                                                   Guardian Development Corporation
 Stanford Advisory Board
                                                                   Guardian International Investment Services
 Two Islands One Club (Antigua) Ltd.
                                                                   Casuarina Holdings, Inc.
 Stanford Caribbean Investment Partners, LP
                                                                   Stanford Caribbean Investment Fund
 Stanford Caribbean Advisors
                                                                   Stanford Caribbean Investment Fund I, LP
 Stanford Group Panama a/k/a Stanford Bank
 Panama




 i
  Locations in brackets are included to differentiate between legal entities with the same name but different locations
 or other identifying information.
 ii
      Locations in parentheses are included in the legal name of an entity or other identifying information.

                                                               4
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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


  SECURITIES AND EXCHANGE
  COMMISSION,

                                     Plaintiff,
                                                       Civil Action No. 3:09-cv-00298-N
  v.

  STANFORD INTERNATIONAL BANK, LTD,
  et al.,
                                     Defendants.



  RALPH S. JANVEY, in his capacity as Court-
  appointed receiver for the Stanford Receivership
  Estate; the OFFICIAL STANFORD
  INVESTORS COMMITTEE; PAM REED;
  SAMUEL TROICE; and MICHOACAN
  TRUST; individually and on behalf of a class of
  all others similarly situated,
                                                       Civil Action No. 3:12-cv-04641-N
                                    Plaintiffs,

   v.

  GREENBERG TRAURIG, LLP; HUNTON &
  WILLIAMS, LLP; AND YOLANDA SUAREZ,
                                    Defendants.



                                    SCHEDULING ORDER

        This matter is before the Court on the Expedited Request for Entry of Scheduling Order

 and Motion to Approve Proposed Settlement with Hunton & Williams LLP, to Approve the

 Proposed Notice of Settlement with Hunton & Williams LLP, to Enter the Bar Order, to Enter

 the Rule 54(b) Final Judgment and Bar Order, and for Plaintiffs’ Attorneys’ Fees (the “Motion”)


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 of Ralph S. Janvey (the “Receiver”), as Receiver for the Receivership Estate in SEC v. Stanford

 International Bank, Ltd., No. 3:09-CV-0298-N (N.D. Tex.) (the “SEC Action”), the Official

 Stanford Investors Committee (the “Committee”), as a party to the SEC Action and, along with

 the Receiver, as a plaintiff in Janvey v. Greenberg Traurig LLP et al., No. 3:12-cv-04641-N

 (N.D. Tex.) (the “Litigation”), and Pam Reed, Samuel Troice, and Michoacan Trust, individually

 and, on behalf of a putative class of Stanford investors, as plaintiffs in the Litigation (the

 “Investors Plaintiffs,” and collectively with the Receiver and the Committee, the “Plaintiffs”).

 The Motion concerns a proposed settlement (the “Settlement”) among and between, on the one

 hand, the Plaintiffs and the Court-appointed Examiner, John J. Little (the “Examiner”);1 and, on

 the other hand, Hunton & Williams LLP (“Hunton”), as a defendant in the Litigation.

 Capitalized terms not otherwise defined in this order shall have the meaning assigned to them in

 the settlement agreement attached to the Motion (the “Settlement Agreement”).

          In the Motion, the Plaintiffs seek the Court’s approval of the terms of the Settlement,

 including entry of a bar order in the SEC Action (the “Bar Order”) and a final judgment and bar

 order in the Litigation (the “Judgment and Bar Order”). After reviewing the terms of the

 Settlement and considering the arguments presented in the Motion, the Court preliminarily

 approves the Settlement as adequate, fair, reasonable, and equitable. Accordingly, the Court

 enters this scheduling order to: (i) provide for notice of the terms of the Settlement, including

 the proposed Bar Order in the SEC Action and the proposed Judgment and Bar Order in the

 Litigation; (ii) set the deadline for filing objections to the Settlement, the Bar Order, the

 Judgment and Bar Order, or Plaintiffs’ request for approval of Plaintiffs’ attorneys’ fees; (iii) set


 1
   The Examiner executed the Settlement Agreement to indicate his approval of the terms of the Settlement and to
 confirm his obligation to post Notice on his website, as required herein, but is not otherwise individually a party to
 the Settlement Agreement, the SEC Action, or the Litigation.

                                                            2
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 the deadline for responding to any objection so filed; and (iv) set the date of the final approval

 hearing regarding the Settlement, the Bar Order in the SEC Action, the Judgment and Bar Order

 in the Litigation, and Plaintiffs’ request for approval of Plaintiffs’ attorneys’ fees (the “Final

 Approval Hearing”), as follows:

        1.      Preliminary Findings on Potential Approval of the Settlement: Based upon the

 Court’s review of the terms of the Settlement Agreement, the arguments presented in the Motion,

 and the Motion’s accompanying appendices and exhibits, the Court preliminarily finds that the

 Settlement is fair, reasonable, and equitable; has no obvious deficiencies; and is the product of

 serious, informed, good-faith, and arm’s-length negotiations. The Court, however, reserves a

 final ruling with respect to the terms of the Settlement until after the Final Approval Hearing

 referenced below in Paragraph 2.

        2.      Final Approval Hearing: The Final Approval Hearing will be held before the

 Honorable David C. Godbey of the United States District Court for the Northern District of

 Texas, United States Courthouse, 1100 Commerce Street, Dallas, Texas 75242, in Courtroom

 1505, at __:__ _.m. on _________, which is a date at least ninety (90) calendar days after entry

 of this Scheduling Order. The purposes of the Final Approval Hearing will be to: (i) determine

 whether the terms of the Settlement should be approved by the Court; (ii) determine whether the

 Bar Order attached as Exhibit B to the Settlement Agreement should be entered by the Court in

 the SEC Action; (iii) determine whether the Judgment and Bar Order attached as Exhibit C to the

 Settlement Agreement should be entered by the Court in the Litigation; (iv) rule upon any

 objections to the Settlement, Bar Order, or the Judgment and Bar Order; (v) rule upon Plaintiffs’

 request for approval of Plaintiffs’ attorneys’ fees; and (vi) rule upon such other matters as the

 Court may deem appropriate.


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         3.      Notice: The Court approves the form of Notice attached as Exhibit A to the

 Settlement Agreement and finds that the methodology, distribution, and dissemination of Notice

 described in the Motion: (i) constitute the best practicable notice; (ii) are reasonably calculated,

 under the circumstances, to apprise all Interested Parties of the Settlement, the releases therein,

 and the injunctions provided for in the Bar Order and Judgment and Bar Order; (iii) are

 reasonably calculated, under the circumstances, to apprise all Interested Parties of the right to

 object to the Settlement, the Bar Order, or the Judgment and Bar Order, and to appear at the

 Final Approval Hearing; (iv) constitute due, adequate, and sufficient notice; (v) meet all

 requirements of applicable law, including the Federal Rules of Civil Procedure, the United States

 Constitution (including Due Process), and the Rules of the Court; and (vi) will provide to all

 Persons a full and fair opportunity to be heard on these matters. The Court further approves the

 form of the publication Notice attached as Exhibit G to the Settlement Agreement. Therefore:

                 a.      The Receiver is hereby directed, no later than twenty-one (21) calendar

 days after entry of this Scheduling Order, to cause the Notice in substantially the same form

 attached as Exhibit A to the Settlement Agreement to be sent via electronic mail, first class mail,

 or international delivery service to all Interested Parties; to be sent via electronic service to all

 counsel of record for any Person who is, at the time of Notice, a party in any case included in In

 re Stanford Entities Securities Litigation, MDL No. 2099 (N.D. Tex.) (the “MDL”), the SEC

 Action, or the Litigation, who are deemed to have consented to electronic service through the

 Court’s CM/ECF System under Local Rule CV-5.1(d); and to be sent via facsimile transmission

 and/or first class mail to any other counsel of record for any other Person who is, at the time of

 service, a party in any case included in the MDL, the SEC Action, or the Litigation.




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                b.      The Receiver is hereby directed, no later than twenty-one (21) calendar

 days after entry of this Scheduling Order, to cause the notice in substantially the same form

 attached as Exhibit G to the Settlement Agreement to be published once in the national edition of

 The Wall Street Journal and once in the international edition of The New York Times.

                c.      The Receiver is hereby directed, no later than ten (10) calendar days after

 entry of this Scheduling Order, to cause the Settlement Agreement, the Motion, this Scheduling

 Order, the Notice, and all exhibits and appendices attached to these documents, to be posted on

 the Receiver’s website (http://stanfordfinancialreceivership.com). The Examiner is hereby

 directed, no later than ten (10) calendar days after entry of this Scheduling Order, to cause the

 Settlement Agreement, the Motion, this Scheduling Order, the Notice, and all exhibits and

 appendices attached to these documents, to be posted on the Examiner’s website (http://lpf-

 law.com/examiner-stanford-financial-group).

                d.      The Receiver is hereby directed promptly to provide the Settlement

 Agreement, the Motion, this Scheduling Order, the Notice, and all exhibits and appendices

 attached to these documents, to any Person who requests such documents via email to Ivonne

 Soler, Esq., an attorney at Butzel Long, P.C., at soler@butzel.com, or via telephone by calling

 (313) 225-7048. The Receiver may provide such materials in the form and manner that the

 Receiver deems most appropriate under the circumstances of the request.

                e.      No less than ten (10) days before the Final Approval Hearing, the

 Receiver shall cause to be filed with the Clerk of this Court written evidence of compliance with

 subparts (a) through (d) of this Paragraph, which may be in the form of an affidavit or

 declaration.




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        4.      Objections and Appearances at the Final Approval Hearing: Any Person who

 wishes to object to the terms of the Settlement, the Bar Order, the Judgment and Bar Order, or

 Plaintiffs’ request for approval of Plaintiffs’ attorneys’ fees, or who wishes to appear at the Final

 Approval Hearing, must do so by filing an objection, in writing, with the Court in the SEC

 Action (3:09-CV-0298-N), by ECF or by mailing the objection to the Clerk of the United States

 District Court for the Northern District of Texas, 1100 Commerce Street, Dallas, Texas 75242,

 no later than [insert date of 21st day before Final Approval Hearing], 2016. All objections filed

 with the Court must:

                a.      contain the name, address, telephone number, and (if applicable) an email

 address of the Person filing the objection;

                b.      contain the name, address, telephone number, and email address of any

 attorney representing the Person filing the objection;

                c.      be signed by the Person filing the objection, or his or her attorney;

                d.      state, in detail, the basis for any objection;

                e.      attach any document the Court should consider in ruling on the Settlement,

 the Bar Order, the Judgment and Bar Order, or Plaintiffs’ request for approval of Plaintiffs’

 attorneys’ fees; and

                f.      if the Person filing the objection wishes to appear at the Final Approval

 Hearing, make a request to do so.

        No Person will be permitted to appear at the Final Approval Hearing without filing a

 written objection and request to appear at the Final Approval Hearing as set forth in subparts (a)

 through (f) of this Paragraph. Copies of any objections filed must be served by ECF, or by email

 or first class mail, upon each of the following:


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             Jeffrey D. Colman
             Jenner & Block LLP
             353 N. Clark Street
             Chicago, IL 60654-3456
             Telephone: (312) 923-2940
             Facsimile: (312) 840-7340
             E-mail: jcolman@jenner.com

             April A. Otterberg
             Jenner & Block LLP
             353 N. Clark Street
             Chicago, IL 60654-3456
             Telephone: (312) 840-8646
             Facsimile: (312) 840-8746
             E-mail: aotterberg@jenner.com

             and

             Richard A. Sayles
             Sayles/Werbner
             4400 Renaissance Tower
             1201 Elm Street
             Dallas, Texas 75270
             Telephone: (214) 939-8701
             Facsimile: (214) 939-8787
             Email: dsayles@swtriallaw.com

             and

             Edward C. Snyder
             Castillo Snyder, PC
             One Riverwalk Place
             700 N. St. Mary’s, Suite 405
             San Antonio, Texas 78205
             Telephone: 210-630-4200
             Fax: 210-630-4210
             E-mail: esnyder@casnlaw.com

             and

             Douglas J. Buncher
             Neligan Foley LLP
             325 N. St. Paul, Suite 3600
             Dallas, Texas 75201
             Telephone: 214-840-5320


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                Fax: 214-840-5301
                E-mail: dbuncher@neliganlaw.com

                and

                Peter D. Morgenstern
                Butzel Long, P.C.
                477 Madison Avenue, Suite 1230
                New York, New York 10022
                Telephone: 212.818.1110
                Fax: 212.898.0123
                E-mail: morgenstern@butzel.com

                and

                John J. Little
                Little Pedersen Fankhauser LLP
                901 Main Street, Suite 4110
                Dallas, Texas 75202
                Telephone: 214.573.2307
                Fax: 214.573.2323
                E-mail: jlittle@lpf-law.com

                and

                Ralph Janvey
                2100 Ross Ave
                Suite 2600
                Dallas, TX 75201
                E-mail: rjanvey@kjllp.com

                and

                Kevin Sadler
                Baker Botts
                1001 Page Mill Road
                Building One, Suite 200
                Palo Alto, California 94304-1007
                E-mail: kevin.sadler@bakerbotts.com

        Any Person filing an objection shall be deemed to have submitted to the jurisdiction of

 this Court for all purposes of that objection, the Settlement, the Bar Order, and the Judgment and

 Bar Order. Potential objectors who do not present opposition by the time and in the manner set


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 forth above shall be deemed to have waived the right to object (including any right to appeal)

 and to appear at the Final Approval Hearing and shall be forever barred from raising such

 objections in this action or any other action or proceeding. Persons do not need to appear at the

 Final Approval Hearing or take any other action to indicate their approval.

        5.        Responses to Objections: Any Party to the Settlement may respond to an

 objection filed pursuant to Paragraph 4 by filing a response in the SEC Action no later than

 [insert date of 7th day before the Final Approval Hearing]. To the extent any Person filing an

 objection cannot be served by action of the Court’s CM/ECF system, a response must be served

 to the email and/or mailing address provided by that Person.

        6.        Adjustments Concerning Hearing and Deadlines: The date, time, and place for

 the Final Approval Hearing, and the deadlines and date requirements in this Scheduling Order,

 shall be subject to adjournment or change by this Court without further notice other than that

 which may be posted by means of ECF in the MDL, the SEC Action, and the Litigation.

        7.        Retention of Jurisdiction: The Court shall retain jurisdiction to consider all

 further applications arising out of or connected with the proposed Settlement.

        8.        Entry of Injunction: If the Settlement is approved by the Court, the Court will

 enter the Bar Order in the SEC Action and the Judgment and Bar Order in the Litigation. If

 entered, each order will permanently enjoin, among others, Interested Parties, including Stanford

 Investors and Claimants, from bringing, encouraging, assisting, continuing, or prosecuting,

 against Hunton or any of the Hunton Released Parties, the Litigation, or any other action,

 lawsuit, cause of action, claim, investigation, demand, complaint, or proceeding of any nature,

 including, without limitation, contribution or indemnity claims, arising from or relating to a

 Settled Claim.


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        9.      Stay of Proceedings: The Litigation is hereby stayed as to Hunton only, except to

 the extent necessary to give effect to the Settlement.

        10.     Use of Order: Under no circumstances shall this Scheduling Order be construed,

 deemed, or used as an admission, concession, or declaration by or against Hunton of any fault,

 wrongdoing, breach or liability. Nor shall the Order be construed, deemed, or used as an

 admission, concession, or declaration by or against Plaintiffs that their claims lack merit or that

 the relief requested is inappropriate, improper, or unavailable, or as a waiver by any party of any

 defenses or claims he or she may have. Neither this Scheduling Order, nor the proposed

 Settlement Agreement, or any other settlement document, shall be filed, offered, received in

 evidence, or otherwise used in these or any other actions or proceedings or in any arbitration,

 except to give effect to or enforce the Settlement or the terms of this Scheduling Order.

        11.     Entry of This Order: This Scheduling Order shall be entered separately on the

 dockets both in the SEC Action and in the Litigation.

        IT IS SO ORDERED.


 Signed on ___________, 2017

                                               ________________________________
                                               DAVID C. GODBEY
                                               UNITED STATES DISTRICT JUDGE




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                                                                                        EXHIBIT F
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                                       Publication Notice

 To be published once in the national edition of The Wall Street Journal and once in the

 international edition of The New York Times:

        PLEASE TAKE NOTICE that the Court-appointed Receiver for Stanford
        International Bank, Ltd. (“SIB”) and related entities (“Stanford Entities”), and
        certain Plaintiffs, have reached an agreement to settle all claims asserted or that
        could have been asserted against Hunton & Williams LLP relating to or in any
        way concerning SIB (the “Settlement Agreement”). As part of the Settlement
        Agreement, the Receiver and Plaintiffs have requested orders that permanently
        enjoin, among others, all Interested Parties, including Stanford Investors (i.e.,
        customers of SIB, who, as of February 16, 2009, had funds on deposit at SIB
        and/or were holding certificates of deposit issued by SIB), from bringing any
        legal proceeding or cause of action arising from or relating to the Stanford
        Entities against Hunton & Williams, LLP or the Hunton Released Parties.

        Complete copies of the Settlement Agreement, the proposed bar orders, and
        settlement documents are available on the Receiver’s website
        http://www.stanfordfinancialreceivership.com. All capitalized terms not defined
        in this Notice are defined in the Settlement Agreement.

        Interested Parties may file written objections with the United States District Court
        for the Northern District of Texas on or before [insert date of 21st day before
        Final Approval Hearing].




                                                                                      EXHIBIT G
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                            Exhibit 2
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 SECURITIES AND EXCHANGE COMMISSION,   §
                                       §
      Plaintiff,                       §
                                       §
 v.                                    §
                                         Civil Action No. 3:09-CV-0298-N
                                       §
 STANFORD INTERNATIONAL BANK, LTD., et §
 al.,                                  §
                                       §
      Defendants.
                                       §
                                       §
                                       §
 RALPH S. JANVEY, et al.,              §
                                       §
      Plaintiff,                       §
                                       § Civil Action No. 3:13-cv-00477
 v.                                    §
                                       §
 PROSKAUER ROSE, LLP, LLP, et al.,
                                       §
      Defendants.                      §


                    DECLARATION OF EDWARD C. SNYDER
    IN SUPPORT OF RECEIVER AND OSIC’S MOTION FOR ORDER APPROVING
   PROPOSED SETTLEMENT WITH HUNTON & WILLIAMS LLP, TO ENTER THE
    BAR ORDER, TO ENTER THE FINAL JUDGMENT AND BAR ORDER, AND TO
        APPROVE APPLICATION FOR ATTORNEYS’ FEES AND EXPENSES
  ____________________________________________________________________________

        Pursuant to 28 U.S.C. § 1746, I, Edward C. Snyder, hereby declare under penalty of

 perjury that I have personal knowledge of the following facts:

                                       I.     OVERVIEW

        I am submitting this Declaration in support of the Receiver and the Official Stanford

 Investors Committee (“OSIC”) (collectively, the “Plaintiffs”) Expedited Request for Entry of

 Scheduling Order and Motion to Approve Proposed Settlement with Hunton & Williams LLP, to

 Approve the Proposed Notice of Settlement with Hunton & Williams LLP, to Enter the Final
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 Judgment and Bar Order, and for Plaintiffs’ Attorneys’ Fees and Expenses (the “Motion”).1

 A.         Hunton & Williams LLP

            1.       The settlement for which approval is sought in the Motion settles all claims

 against Hunton & Williams LLP (“Hunton”) in exchange for payment of $34 million by Hunton

 to the Receiver for ultimate distribution to the Stanford investor victims.

            2.       My law firm along with co-counsel Butzel Long (“Butzel”), Strasburger & Price,

 LLP (“Strasburger”), and Neligan Foley LLP (“Neligan”) (together with my firm Castillo Snyder

 P.C., “Plaintiffs’ Counsel”), have been litigating claims against Hunton on behalf of a putative

 class of Stanford investors, the Receiver and OSIC since November 2012. My firm was retained

 by OSIC in late 2010 to investigate and then to pursue claims against Hunton.

 B.         Curriculum Vitae

            3.       I am a named shareholder of the law firm Castillo Snyder P.C., based in San

 Antonio, Texas, and have been practicing law for twenty one (21) years. I presently serve as co-

 lead counsel for OSIC and the putative class of Stanford investors with respect to claims against

 Hunton. I have actively participated in all material aspects regarding the Hunton matter.

            4.       I received my law degree from the University of Texas School of Law in 1994 and

 my law license also in 1994. After law school, I served as Legal Advisor to the former Chairman

 of the U.S. International Trade Commission in Washington, D.C. Since entering private practice

 in 1996, I have been involved principally in commercial litigation and trial work, and have

 handled major cases for both corporate and individual clients, as both plaintiff’s and defendant’s

 counsel. I am admitted to practice in the Western, Eastern, Northern and Southern federal

 districts of the State of Texas as well as the Fifth and Ninth Circuit courts of appeal and the

 United States Supreme Court.

 1
     Capitalized Terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.



 Declaration of Edward C. Snyder                                                                             2
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         5.      Castillo Snyder is a commercial litigation “boutique” firm based in San Antonio.

 My partner Jesse Castillo (who is a 30+ year trial lawyer and previously was a partner at Cox &

 Smith) and I concentrate our practice on complex commercial litigation, including everything

 from contract, corporate and partnership disputes, securities litigation, real estate litigation, oil

 and gas litigation and other commercial and business cases. We have tried dozens of complex

 commercial matters to verdict and judgment, including commercial cases tried in U.S. courts

 under foreign laws.

         6.      Since the 1990s, my partner and I have been involved on the plaintiffs’ side in

 numerous class action lawsuits involving allegations of fraud and securities fraud and aider and

 abettor liability. In the late 1990s, while an associate and, later, a partner at San Antonio-based

 law firm Martin, Drought & Torres, I (along with my current partner Jesse Castillo and other

 lawyers from that firm) served as lead or co-lead or second chair class counsel in roughly a

 dozen or more state-wide and nationwide class actions against life insurance companies based on

 allegations of fraud in the marketing and sale of “vanishing premium” life insurance products. In

 that capacity we litigated class action cases and certified various class actions, typically for

 settlement purposes although some were litigated to class certification hearings, and also handled

 class action administrative issues including class claims administration via settlement

 distribution procedures with class action administration agents we employed. Some of the

 defendant life insurance companies we brought (and resolved) class action litigation against

 include: Metlife, CrownLife, First Life Assurance, Manufacturers Life, Equitable Life, Sun Life,

 College Life, Jackson National Life, Great American Life, and John Hancock.

         7.      One of my specialized practice areas over the last 18 years has been in the area of

 pursuing third parties such as banks, accounting firms, law firms and others accused of aiding




 Declaration of Edward C. Snyder                                                                    3
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 and abetting complex international (typically offshore) securities fraud schemes. From 1998

 through 2006 I served as lead class counsel for Mexican investors who had been defrauded by a

 Dallas-based Investment Adviser firm named Sharp Capital Inc. (“Sharp”) that operated what

 amounted to an illegal offshore “fund” in the Bahamas but that was run from Dallas. The SEC

 intervened and filed suit against Sharp and appointed Ralph Janvey as the receiver for Sharp.

 Sharp lost over $50 million of Mexican investor funds. Through various lawsuits we brought

 under the Texas Securities Act (“TSA”), we were able to eventually recover millions of dollars

 for the Sharp investors. See Melo v. Gardere Wynne, 2007 WL 92388 (N.D. Tex. 2007). I also

 represented Ralph Janvey, as receiver for Sharp, in litigation arising from the Sharp case, which

 was also settled. See Janvey v. Thompson & Knight, 2004 WL 51323 (N.D. Tex. 2004).

         8.      Beginning in late 1999, my prior law firm and I also served as lead and/or co-lead

 class counsel (along with the Diamond McCarthy law firm) for the Class of primarily Mexican

 investors of the InverWorld group of companies, which was an investment group based in San

 Antonio that operated what amounted to an offshore fund in the Cayman Islands. We filed class

 action lawsuits against several Defendants, including a French bank, New York law firm Curtis

 Mallet-Prevost, and accounting firm Deloitte & Touche. See Nocando Mem Holdings v. Credit

 Comercial de France, 2004 WL 2603739 (W.D. Tex. 2004); Gutierrez v. the Cayman Islands

 Firm of Deloitte & Touche, 100 S.W.3d 261 (Tex. App. – San Antonio 2002). Those class cases

 proceeded in tandem with estate litigation filed by the bankruptcy trustee for InverWorld, who

 was principally represented by the Neligan firm. All of those class cases were premised on TSA

 aider and abettor claims and all of them eventually settled, each for eight figure sums.

         9.      In 2003 I was retained by a group of Mexican investors who had been defrauded

 in yet another $400 million offshore investment fraud committed by a Houston-based investment




 Declaration of Edward C. Snyder                                                                 4
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 firm called InterAmericas that, like Stanford, ran an offshore bank (in Curacao, Netherlands

 Antilles) through which primarily Mexican investors invested. While not a class action, myself

 and my former law firm filed litigation under the TSA aider and abettor provisions against

 Deloitte & Touche and a few other Defendants, resulting in seven figure settlements. See

 Deloitte & Touche Netherlands Antilles and Aruba v. Ulrich, 172 S.W.3d 255 (Tex. App. –

 Beaumont 2005).

         10.      Besides the Stanford cases, I have recently been involved in two other SEC Ponzi

 scheme cases. I served as a Special Litigation Counsel to an SEC Receiver in the Central District

 of California in a Ponzi scheme case styled Securities and Exchange Commission v. Westmoore

 Management LLC et al, Case No. 08:10-CV-00849-AG-MLG. In that capacity I represented the

 Receiver with respect to all litigation activities. I also represented several foreign investors in an

 alleged Ponzi scheme case in McAllen, Texas styled Securities & Exchange Commission v.

 Marco A. Ramirez, Bebe Ramirez, USA Now, LLC., USA Now Energy Capital Group, LLC., and

 Now. Co. Loan Services, LLC; In the United States District Court for the Southern District of

 Texas – McAllen Division; Case No. 7:13-cv-00531.

         11.      Based on my experience in SEC receivership and offshore fraud cases generally,

 as well as my experience in the Stanford cases, I am often invited to speak at seminars on

 securities litigation issues (including liability under the TSA) by the Texas State Bar.

 C.      Involvement with the Stanford Cases Since 2009

         12.      I and my law firm have been heavily involved with the Stanford cases since

 February 2009.

         13.      As soon as Stanford collapsed in February 2009, I was retained by hundreds of

 investors from Mexico. I immediately began investigating claims against various third party




 Declaration of Edward C. Snyder                                                                     5
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 potential defendants connected with the collapse of Stanford.

         14.     After the OSIC was created, I was asked to be a member of said Committee and

 continue to serve on said Committee today, without compensation. My service on OSIC has

 consumed hundreds if not thousands of hours of my time over the last few years including time

 spent communicating with other OSIC members on weekends and late at night.

         15.     My investigations and efforts eventually led myself and the other Plaintiffs’

 Counsel to file multiple class action lawsuits on behalf of Stanford investors, as well as

 companion litigation on behalf of OSIC, including the following cases: Troice v. Willis of

 Colorado et al, Case No. 3:09-cv-01274; Janvey v. Willis of Colorado, Inc., Case No. 3:13-cv-

 03980; Troice v. Proskauer Rose et al., Case No. 3:09-cv-01600; Janvey v. Proskauer Rose,

 LLP, Case No. 3:13-cv-477; Janvey v. Greenberg Traurig, LLP, Case No. 3:12-cv-04641; Philip

 Wilkinson, et al v. BDO USA, LLP, et al, Case No. 3:11-cv-1115; The Official Stanford Investors

 Committee v. BDO USA, LLP, et al, Case No. 3:12-cv-01447; Turk v. Pershing, LLC, Case No.

 3:09-cv-02199; Wilkinson, et al. v. Breazeale, Sachse, & Wilson, LLP, Case No. 3:11-cv-00329;

 and Janvey v. Adams & Reese, LLP, et al., Case No. 3:12-cv-00495 (the “Stanford Cases”).

         16.     I am either lead counsel or co-lead counsel with the other Plaintiffs’ Counsel in all

 of the Stanford Cases and I have been actively involved in every facet of the cases, including the

 investigation of the facts and legal theories that form the bases for the suits, responding to

 motions to dismiss and litigating class certification. I served as co-lead counsel in the successful

 appeals of the dismissal of the related Troice class action cases under SLUSA to the Fifth Circuit

 and the U.S. Supreme Court (“SLUSA Appeal”).

         17.     In my view, my and my law firm’s involvement in all of the related Stanford

 Cases has proven invaluable to the successful resolution of the claims against Hunton. Given the




 Declaration of Edward C. Snyder                                                                    6
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 inherent overlap of factual and legal issues in third party litigation arising from the Stanford

 fraud, much of the work performed by Plaintiffs’ Counsel in related Stanford litigation since

 2009 laid the groundwork for the successful resolution of the claims against Hunton here.

                  II.     THE CLAIMS AGAINST HUNTON AND SETTLEMENT

 A.        The Claims Against Hunton and Procedural History of the Litigation

           18.      Plaintiffs’ Counsel have been investigating and zealously prosecuting claims

 against Hunton since late 2010. The claims we filed against Hunton in November 2012 include

 the following:

      Category            Claim
      Receiver/OSIC       Negligence
      Claims              Aiding and Abetting Breach of Fiduciary Duty
                          Negligent Retention / Negligent Supervision
      Investor      Class Aiding and Abetting Violations of the TSA
      Claims              Aiding and Abetting / Participating in Breach of Fiduciary Duty
                          Aiding and Abetting / Participating in a Fraudulent Scheme
                          Civil Conspiracy

      1.         The Litigation

           19.      On November 15, 2012, and as the result of a thorough investigation lasting

 roughly 18 months, counsel for the Plaintiffs filed their very detailed 165 page Original

 Complaint against Hunton and co-Defendants Greenberg Traurig LLP (“Greenberg”) and

 Yolanda Suarez (“Suarez”) on behalf of the Receiver (“Receiver”), the Official Stanford

 Investors Committee (“OSIC”) and Sandra Dorrell, Samuel Troice and Michoacan Trust (the

 “Investor Plaintiffs”), individually and on behalf of a putative class of Stanford investors, in the

 case styled Janvey, et al v. Greenberg Hunton, LLP et al., Civil Action No. 3:12-cv-04641 (the

 “Litigation”) [ECF No. 1]. The Complaint asserts claims against Hunton for negligence, aiding

 and abetting breaches of fiduciary duties, breaches of fiduciary duties, fraudulent transfer/unjust

 enrichment, aiding and abetting fraudulent transfers, negligent retention, aiding and abetting



 Declaration of Edward C. Snyder                                                                    7
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 violations of the Texas Securities Act (“TSA”), aiding and abetting a fraudulent scheme, and

 civil conspiracy

         20.     The Defendants subsequently filed separate motions to dismiss the claims

 asserted by the Receiver/Committee and the claims asserted by the Investor Plaintiffs [ECF Nos.

 27, 49, 56, 90].2

         21.     By Orders dated December 17, 2014 [ECF No. 114] and February 4, 2015 [ECF

 No. 123], the Court granted in part and denied in part Hunton’s motions to dismiss the

 Complaint, dismissing with prejudice (i) the Receiver and Committee’s claims for aiding and

 abetting fraudulent transfer; (ii) the Investor Plaintiffs’ TSA claims for aiding and abetting and

 civil conspiracy for the sale of unregistered securities and the sale of securities by an

 unregistered dealer arising from sales taking place prior to February 1, 2008; (iii) the Investor

 Plaintiffs’ TSA claims for aiding and abetting and civil conspiracy for the sale of securities

 through untruth or omission arising from sales taking place prior to February 1, 2006; dismissing

 without prejudice the Receiver and Committee’s claims for breach of fiduciary duty, and

 declining to dismiss the Plaintiffs’ other claims against Hunton.

         22.     The Defendants then filed a motion to certify the Court’s December 17, 2014

 Order for interlocutory appeal [ECF No. 118]. The Court denied this motion on February 10,

 2015 [ECF No. 125].

         23.     The Defendants also filed motions to join the Antiguan Joint Liquidators as

 required parties [ECF Nos. 30, 51, 55]. These motions were denied on December 2, 2014 [ECF

 No. 113].

         24.     On August 11, 2015, 2014 this Court issued its Order denying our request for

 entry of a scheduling order to permit merits discovery scheduling Order [ECF No. 141]. On the

 2
         Hunton filed two of the motions to dismiss [Hunton Action, ECF Nos. 49, 90].



 Declaration of Edward C. Snyder                                                                    8
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 same day the Court issued its Class Action Scheduling Order. [ECF No. 142]. The parties

 thereafter engaged in roughly six months of extensive class certification discovery and fact and

 expert witness depositions.       The parties filed all of their class certification evidence and

 voluminous briefing with this Court on April 20, 2015. [ECF Nos. 174-184].

         25.     More recently, the Defendants have filed motions to dismiss the claims asserted

 by the Investor Plaintiffs based on the applicability of the attorney immunity doctrine [ECF No.

 193, 195]. These motions, and the motion for class certification, are fully briefed and sub judice.

 B.      Mediation

         26.     Mediation was held with Hunton on two occasions. The first mediation was held

 prior to the filing of the Complaint in 2012, with McGowen Dispute Resolution, and lasted two

 days. The parties were unable to reach resolution at that time. Following the Court’s decisions

 on Hunton’s motions to dismiss, and the parties’ submission of class certification briefing and

 evidence in the Hunton Action, the parties convened a second mediation with the Hon. Layn R.

 Phillips in New York in October 2016. Despite a full day mediation, the parties were once again

 unable to reach a resolution. However, negotiations continued and, in May 2017, the Parties

 reached agreement resulting in the Hunton Settlement.          The parties executed the Hunton

 Settlement Agreement in August, 2017.

 C.      Plaintiffs’ Counsel Have Sufficient Basis to Evaluate and Recommend this
         Settlement

         27.     Plaintiffs’ Counsel have spent substantial time and energy since 2009

 investigating Stanford’s business operations and relationships with third parties, including

 Hunton, which involved the review of hundreds of thousands if not millions of pages of

 documents (including spending literally weeks at the Receiver’s document warehouse in

 Houston), interviews of dozens of witnesses across the globe, coordination of efforts with the



 Declaration of Edward C. Snyder                                                                   9
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  Receiver, Examiner, SEC and Department of Justice, and researching case law to establish viable

  theories of liability and damages and then defending those theories through dispositive motion

  practice before this Court in over a dozen separate lawsuits, including the SLUSA Appeal of the

  Investor Litigation all the way to the U.S. Supreme Court. All of that work paved the way for

  the proposed settlement with Hunton, and, in my view, the proposed Settlement could not have

  been achieved without the substantial amount of time and effort expended by Plaintiffs’ Counsel

  and their tireless efforts in the Stanford Cases over all.

          28.     Plaintiffs’ Counsel collectively have spent roughly 7 years and thousands of hours

  investigating and zealously pursuing claims against Hunton on behalf of the Stanford

  Receivership Estate and the Stanford investors prior to reaching the mediated settlement in May

  2017. Prior to filing the Litigation against Hunton in November 2012, I spent roughly 18 months

  investigating claims against Hunton (and co-Defendant Greenberg). As part of the investigation

  of claims against Hunton for the Receiver and OSIC, I reviewed voluminous documents,

  including thousands of pages of documents detailing Hunton’s relationship with and services

  provided to Stanford. The documents reviewed included documents from the Receivership as

  well as documents obtained from Hunton and other law firms. We also interviewed dozens of

  witnesses. We researched relevant case law to develop claims against Hunton, including claims

  under the TSA and other common law claims belonging to the Stanford investors, as well as

  claims that could be asserted by the Receiver and OSIC, to determine how the facts surrounding

  Hunton’s conduct supported such claims.            The investigation of claims further required

  formulation of viable damage models and causation theories for both the Receivership Estate

  claims and the investor claims, and myself and Plaintiffs’ Counsel spent considerable time

  researching and working up damage models for these cases.




  Declaration of Edward C. Snyder                                                                10
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          29.     Plaintiffs’ Counsel could not have successfully prosecuted and resolved the

  claims asserted against Hunton without having spent thousands of additional hours investigating

  and understanding the background and history of the complex web of Stanford companies, the

  operations, financial transactions, interrelationship and dealings between and among the various

  Stanford entities, and the facts relating to the Ponzi scheme and how it was perpetrated through

  the various Stanford entities. Without a comprehensive investigation and understanding of this

  background, it would not have been possible to formulate viable claims against Hunton and

  prosecute them successfully to conclusion.

          30.     Finally, Plaintiffs’ Counsel have diligently and aggressively prosecuted the

  Litigation for close to 5 years, including through class certification. Plaintiffs’ Counsel briefed

  and largely prevailed on Defendants’ Motions to Dismiss, and engaged in extensive class

  certification discovery and voluminous briefing of class certification issues that included

  numerous complex and novel issues regarding foreign law. Plaintiffs’ Counsel are uniquely

  qualified to evaluate the merits of the claims against Hunton and the value of this settlement, and

  have acquired knowledge and expertise regarding Hunton’s involvement with Stanford sufficient

  to provide a sound basis for their recommendation of approval of the instant settlement.

  D.      The Settlement is Fair and Reasonable and Should be Approved

          31.     It is my opinion based upon years of experience prosecuting and settling complex

  investor class actions under the TSA, as well as complex receivership Ponzi scheme litigation,

  that the Hunton Settlement is fair and reasonable and in the best interests of the Stanford

  Receivership Estate and the Stanford investors and should be approved by the Court.

          32.     More importantly, I believe that the Hunton Settlement represents the best result

  that could be achieved given all of the circumstances. Indeed, and as evidenced by the Fifth




  Declaration of Edward C. Snyder                                                                 11
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  Circuit’s application of the Attorney Immunity doctrine to dismiss the related class action

  lawsuit against Proskauer Rose,3 these are by no means “easy” cases. As a consequence, the

  result obtained is simply outstanding. In light of all of the factors outlined in the Motion, the

  Hunton Settlement represents an extremely good result for the Stanford receivership estate and

  its investors. Therefore, I believe the Hunton Settlement is in the best interests of the Stanford

  receivership estate and its investors and should be approved.

                                       III.    ATTORNEYS’ FEES

  A.      The Contingency Fee Agreement

          33.     Plaintiffs’ Counsel have been jointly handling all of the Stanford Cases referenced

  above, including the claims against Hunton, pursuant to twenty-five percent (25%) contingency

  fee agreements with the Receiver, OSIC (in cases in which OSIC is a named Plaintiff) and the

  Investor Plaintiffs (in investor class action lawsuits). With specific reference to the Hunton case,

  Plaintiffs’ Counsel were collectively retained by the Investor Plaintiffs pursuant to contingency

  fee contracts that provide for a fee equivalent to 25% of any net recovery from Hunton.

  Similarly, Neligan was retained by the Receiver pursuant to a contingency fee contract that

  provides for a fee equivalent to 25% of any net recovery from Hunton, and my firm, Butzel and

  Strasburger were retained by OSIC to pursue claims against Hunton based on a 25% contingent

  fee.

          34.     As stated in the Motion, the Movants seek Court approval to pay Plaintiffs’

  Counsel a fee equal to an aggregate of twenty-five percent (25%) of the Net Recovery (i.e., the

  settlement amount less allowable expense disbursements) in the Hunton Settlement. This is the

  fee agreed to be paid to Plaintiffs’ Counsel by the Receiver, OSIC and the Investor Plaintiffs, and

  this is the amount of the fee for which approval is sought in the Motion.

  3
          Troice v. Proskauer Rose LLP, ___ F.3d ___, No. 15-10500, 2016 WL 929476 (5th Cir. 2016).



  Declaration of Edward C. Snyder                                                                     12
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  B.      The 25% Contingency Fee is Fair and Reasonable

          35.     It is my opinion that the fee requested in the Motion is reasonable in comparison

  to the total net amount to be recovered for the benefit of the Stanford investors. The twenty-five

  percent (25%) contingency fee was heavily negotiated between the Receiver, OSIC and

  Plaintiffs’ Counsel, and is substantially below the typical market rate contingency fee percentage

  of 33% to 40% that most law firms would demand to handle cases of this complexity and

  magnitude. In certain instances, OSIC interviewed other potential counsel who refused to handle

  the lawsuits without a higher percentage fee. The claims against Hunton and the other third-

  party lawsuits are extraordinarily large and complex, involving voluminous records and

  electronic data and requiring many years of investigation, discovery and dispositive motions to

  get to trial.

          36.     Moreover, as described above, myself and the other Plaintiffs’ Counsel spent

  roughly 18 months investigating claims and preparing the 165 page detailed Complaint against

  Hunton. Since filing the Litigation against Hunton in November, 2012, the case has been hard

  fought and has gone on for almost 5 years, including through class certification.     As a result,

  Plaintiffs’ Counsel have collectively invested thousands of hours of time worth in excess of $3

  million during the almost 7 year period we have been working on the Hunton matter, without

  compensation.     Plaintiffs’ Counsel has, for many years now, borne significant risk of loss

  throughout this process after years of work for no compensation. A twenty-five percent (25%)

  contingency fee is reasonable given the time and effort that was actually expended, the

  complexity of the matter and the risks involved.

  C.      Time and Effort of Plaintiffs’ Counsel

          37.     Since February 2009, myself and my law firm have dedicated thousands of hours of




  Declaration of Edward C. Snyder                                                                 13
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  time to the prosecution of Stanford Cases on a contingent fee basis. This includes time spent

  investigating and understanding the background and history of the complex web of Stanford

  companies, the operations, financial transactions, interrelationship and dealings between and

  among the various Stanford entities and the defendants we have sued, the facts relating to the

  Ponzi scheme and how it was perpetrated through the various Stanford entities, and the

  involvement of the third-party defendants in the foregoing cases with Stanford. Without a

  comprehensive investigation and understanding of this background, it would not have been

  possible to formulate viable claims against the third-party defendants and prosecute them

  successfully.

          38.     Even a cursory review of the Court’s docket in all of these cases reveals the

  immense amount of work that Plaintiffs’ Counsel have put into the prosecution of all of these

  lawsuits since 2009. However, the docket and pleadings only reveal the work that is filed with

  the Court. As discussed further herein, and as the Court is aware, the prosecution of lawsuits of

  this magnitude and complexity has required a tremendous amount of time and effort to

  investigate the facts, research the relevant legal issues, coordinate and strategize with counsel

  and clients regarding the handling of the cases, conduct discovery, prepare the briefs and

  motions, attempt to negotiate settlements, and prepare cases for summary judgment and/or trial.

  Plaintiffs’ Counsel have collectively spent thousands of hours since 2009 in their investigation

  and prosecution of Stanford-related claims, including the claims against Hunton.

          39.     Over the last 8½ years, myself and other attorneys and paralegals from my law

  firm have spent thousands of hours in largely uncompensated time worth millions of dollars

  investigating and prosecuting the Stanford Cases, including the Hunton matter. On average, well

  in excess of 70% of my practice over the last 8 ½ years (and more typically 80-100% of my time on




  Declaration of Edward C. Snyder                                                                14
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  any given week) has been dedicated to these Stanford cases. I personally have worked many late

  nights and virtually every weekend for the last 8 ½ years on Stanford cases or Stanford-related

  matters without compensation. Basically my law practice over the last 8 ½ years has been dedicated

  almost exclusively to the Stanford Cases, to the exclusion of other clients and work.

          40.     The total amount of attorney and paralegal time invested in the Stanford Cases by

  myself and other attorneys and paralegals at my Firm totals close to $8 million at our hourly billing

  rates applicable to complex cases like these, all of which time has been uncompensated to date.

          41.     With specific reference to the Hunton matter, I recorded my own as well other

  attorneys and paralegals from my firm’s time for work on the Hunton case separately from other

  Stanford cases. Given the length of time involved working on the Hunton investigation (since

  late 2010) and the Litigation (since November 2012 when it was filed), through today’s date my

  firm has invested close to $1.8 million worth of time on the Hunton matter alone. Specifically,

  as of September 21, 2010, my firm has spent over 3,000 hours of attorney and paralegal time

  worth approximately $1,790,897.50 at our applicable hourly rates for complex cases of this

  nature consisting of time that was dedicated directly to the Hunton case.

          42.      I obviously anticipate investing additional time dedicated to the finalization of

  the instant Settlement, including finalizing the motion for approval documents, monitoring and

  responding to any objections where applicable, and attending and arguing at the approval

  hearing. Therefore I believe that my law firm’s total time dedicated to the Hunton matter will

  eventually exceed $1.8 million.

          43.     The proposed settlement is the result of many years of effort and thousands of

  hours of work by the Receiver, OSIC, Investor Plaintiffs and Plaintiffs’ Counsel as described

  herein. But for the efforts of these parties, and the efforts of myself and my law firm described




  Declaration of Edward C. Snyder                                                                   15
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  herein, there would be no Hunton Settlement, which will net the Receivership estate and the

  Stanford investors approximately $25.4 million (should the Court approve the attorneys’ fee

  request) they would not have otherwise had.

          44.     In light of the tremendous time and effort myself and my law firm and the other

  Plaintiffs’ Counsel have put into the overall effort to recover monies for the Stanford

  Receivership Estate and the investors, all of which was necessary to the successful prosecution

  and resolution of the Hunton matter, it is my opinion that the twenty-five percent (25%) fee to be

  paid to counsel for OSIC and the Investor Plaintiffs for the settlement of the Hunton matter is

  very reasonable. Myself and my laws firm and the other Plaintiffs’ Counsel have worked

  tirelessly for over six years to attempt to recover money for the benefit of Stanford’s investors.

          Dated: August__, 2017


                                                   Edward C. Snyder




  Declaration of Edward C. Snyder                                                                      16
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                             Exhibit 4
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                             Exhibit 5
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                             Exhibit 6
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                             Exhibit 7
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                  DECLARATION OF EXAMINER JOHN J. LITTLE



        Pursuant to 28 U.S.C. § 1746, I, John J. Little, hereby declare under penalty of

  perjury that I have personal knowledge of the following facts:

        1.     My name is John J. Little. I am over the age of eighteen (18) and am

  competent to make this Declaration.

        2.     I am admitted to practice law in the State of Texas, and am admitted to

  practice before various federal courts, including the United States Supreme Court, the

  U.S. Courts of Appeal for the Fifth and Eleventh Circuits, the United States Tax Court

  and the U.S. District Courts for the Northern, Eastern and Southern Districts of Texas. I

  have been practicing law in Dallas, Texas since 1983, and have been a partner in the

  Dallas law firm Little Pedersen Fankhauser, LLP, since 1994.

        3.     By Order dated April 20, 2009, I was appointed by Judge David C. Godbey

  (the “Court”) to serve as the Examiner in the Stanford Financial Group receivership

  proceedings. SEC v. Stanford International Bank, Ltd., et al., Civil Action No. 3:09-CV-

  0298-N, ECF No. 322 (the “Examiner Order”). Pursuant to the Examiner Order, I was

  directed to “convey to the Court such information as the Examiner, in his sole discretion,

  shall determine would be useful to the Court in considering the interests of the investors

  in any financial products, accounts, vehicles or ventures sponsored, promoted or sold by




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                   1
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  any Defendants1 in this action (the “Investors”).” I have served as Examiner in the

  Stanford Financial Receivership proceedings continuously since my appointment.

         4.      By Order dated August 10, 2010, the Court created the Official Stanford

  Investors Committee (“OSIC”) to represent Stanford Investors in the Stanford Financial

  Receivership proceedings and all related matters. SEC v. Stanford International Bank,

  Ltd., et al., Civil Action No. 3:09-CV-0298-N, ECF No. 1149 (the “OSIC Order”). The

  OSIC Order defined “Stanford Investors” as “the customers of SIBL who, as of February

  16, 2009, had funds on deposit at SIBL and/or were holding certificates of deposit issued

  by SIBL.” OSIC Order at 2. The OSIC Order conferred upon the OSIC “rights and

  responsibilities similar to those of a committee appointed to serve in a bankruptcy case.”

  The OSIC Order appointed me, as Examiner, to serve as a member of the OSIC and as its

  initial Chair. I have served as the Chair of the OSIC since its formation and continue to

  so serve.

         5.      The OSIC Order specifically authorized the OSIC to pursue claims on a

  contingency fee basis against (a) Stanford’s pre-receivership professionals, and (b) the

  officers, directors and employees of any Stanford entity.2 OSIC Order at 8.




  1
           The Defendants include Stanford International Bank, Ltd., Stanford Group Company, Stanford
  Capital Management, LLC, Robert Allen Stanford, James M. Davis, Laura Pendergest-Holt, Stanford
  Financial Group, The Stanford Financial Group Bldg. Inc. The Receivership encompasses Defendants
  and all entities they own or control.
  2
           This authority was limited in that the OSIC could not pursue claims that were duplicative of
  claims already being prosecuted by the Receiver. OSIC Order at 8.



  DECLARATION OF EXAMINER JOHN J. LITTLE                                                            2
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                                  A.      The OSIC Retains Counsel

          6.      In my capacity as Chair of the OSIC, I negotiated and executed an

  engagement agreement dated November 12, 2012, pursuant to which the OSIC retained

  Castillo Snyder, P.C. (“CS”), Neligan Foley, LLP (“NF”), Butzel Long, PC (“BL”) and

  Strasburger & Price, LLP (“SP”) to represent the OSIC in connection with the

  prosecution of claims against Greenberg Traurig, LLP (“Greenberg”), Hunton &

  Williams, LLP (“Hunton”) and Yolanda Suarez (the “Hunton Claims”). The November

  12, 2012 engagement agreement contemplated that the four law firms would be

  compensated for their services through a contingent fee of twenty-five percent (25%) of

  the Net Recovery realized in respect of the Hunton Claims.

          7.      In my capacity as Chair of the OSIC, I negotiated and executed a Revised

  Fee Agreement with CS, NF, BL and SP with respect to the Hunton Claims dated as of

  April 10, 2014. The April 10, 2014 Revised Fee Agreement provided that the four law

  firms would be compensated for their services through a contingent fee of twenty-five

  percent (25%) of the Net Recovery realized in respect of the Hunton Claims. The

  Revised Fee Agreement defined Net Recovery as the “Recovery3 in connection with the

  Proskauer Claims, after deducting allowable expenses and disbursements.” In connection

  with the execution of the April 10, 2014 Revised Fee Agreement, the four law firms


  3
          “Recovery” was defined as “anything of value directly or indirectly received by the Stanford
  Receivership Estate as a result of the Proskauer Claims, including but not limited to the proceeds of any
  settlement or other disposition, a direct monetary payment or award, restitution awarded through any
  criminal proceeding, a fine assessed by the United States or other local or state Government, or forfeiture
  of any of the Proskauer Defendants’ assets, regardless of whether such Recovery received by the Stanford
  Receivership Estate arguably results from the claims asserted by the Receiver or the Committee against
  the Proskauer Defendants.”


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                                 3
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  entered into an agreement that addressed how those firms would divide the work to be

  done in prosecuting the Hunton Claims and any fees paid with respect to the Hunton

  Claims.

                        B.     Related Litigation Against Law Firms

         8.     On August 27, 2009, Samuel Troice, Horacio Mendez, Annalisa Mendez

  and Punga Punga Financial, Ltd., each an individual Stanford Investor (as putative

  representatives of a class of similarly situated plaintiffs)(the “Troice Plaintiffs”), filed an

  action against the law firm Proskauer Rose, LLP (“Proskauer”) and one of its partners,

  Thomas Sjoblom. Civil Action No. 3:09-CV-1600-N in the Northern District of Texas,

  Dallas Division (the “Proskauer Action”). The action was filed by CS. A second

  amended complaint was filed in the Proskauer Action on October 9, 2009, that added an

  additional law firm, Chadbourne Parke, LLP (“Chadbourne”) and P. Mauricio Alvarado

  (“Alvarado”) as Defendants. The second amended complaint was filed by CS, NF and

  SP.

         9.     The Proskauer Action defendants (Chadbourne, Proskauer, Sjoblom,

  Alvarado) filed motions to dismiss the Proskauer Action in December 2009. [Proskauer

  Action, ECF Nos. 31, 36, 44]. On October 21, 2011, this Court granted the various

  motions to dismiss, finding that the Securities Litigation Uniform Standards Act of 1998

  (“SLUSA”) precluded the action. [Proskauer Action, ECF No. 96]. The Troice Plaintiffs

  appealed that decision to the Fifth Circuit. On March 19, 2012, the Fifth Circuit issued

  its opinion reversing this Court’s order of dismissal. Roland v. Green, 675 F.3d 503 (5th

  Cir. 2012). The Proskauer Action defendants then petitioned for certiorari to the United


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                      4
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  States Supreme Court, which granted the petition. On February 26, 2014, the Supreme

  Court issued its opinion affirming the Fifth Circuit and concluding that SLUSA did not

  preclude the state law-based class action lawsuits brought against the defendants in the

  Proskauer Action. Chadbourne & Parke, LLP v. Troice, 134 S. Ct. 1058 (2014).

                                 C.     The Hunton Action

        10.    The Receiver, the OSIC and an individual Stanford Investor negotiated and

  entered into a tolling agreement with Hunton in February 2011.

        11.    On November 15, 2012, the Receiver, the OSIC and three individual

  Stanford Investors (Sandra Dorrell, Samuel Troice and Michoacan Trust), on behalf of a

  putative class of Stanford Investors, filed their Original Complaint against Greenberg,

  Hunton, and Yolanda Suarez (“Suarez”) in Civil Action No. 3:12-cv-4641-N (the

  “Hunton Action”). [Hunton Action, ECF No. 1].

        12.    Hunton filed a motion for a partial stay of the Hunton Action, [Hunton

  Action, ECF. No. 23], which this Court granted by its Order dated February 22, 2013.

  [Hunton Action, ECF No. 34.] That Order stayed the class claims asserted in the Hunton

  Action until at least 30 days after the United States Supreme Court issued its decision in

  the Proskauer Action. Chadbourne & Parke, LLP v. Troice, 134 S. Ct. 1058 (2014).

        13.    Greenberg filed a motion for dismissal of certain claims and its original

  answer on February 21, 2013. [Hunton Action, ECF No. 27]. Greenberg also filed a

  motion to require the joinder of the Antiguan Joint Liquidators as parties to the Hunton




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                 5
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  Action. [Hunton Action, ECF No. 30].4 Hunton filed a motion to dismiss the claims

  asserted by the Receiver and the OSIC on April 15, 2013. [Hunton Action, ECF No. 49].

  Hunton also filed a motion to require the joinder of the Antiguan Joint Liquidators as

  parties to the Hunton Action. [Hunton Action, ECF No. 51]. Those motions were fully

  briefed by the parties.

          14.   On April 18, 2014, Hunton filed a second motion to dismiss addressing the

  claims asserted by the putative class of Stanford Investors. [Hunton Action, ECF No.

  90]. That motion was also fully briefed.

          15.   The Court entered an Order denying the motions to join the Antiguan Joint

  Liquidators on December 2, 2014. [Hunton Action, ECF No. 113].

          16.   On December 17, 2014, the Court entered an Order addressing the motions

  to dismiss the claims asserted by the Receiver and the OSIC. The Court dismissed the

  claims for aiding and abetting fraudulent transfers and for breach of fiduciary duty;5 the

  motions to dismiss were in all other respects denied. [Hunton Action, ECF No. 114].

  Both Greenberg and Hunton sought to have the Court’s Order certified for interlocutory

  appeal. [Hunton Action, ECF No. 118]. The Court denied those requests. [ECF No.

  125].




  4
          Greenberg ultimately withdrew its motion to join the Antiguan Joint Liquidators.
  [Hunton Action, ECF No. 95].
  5
          The Court gave the Receiver and the OSIC an opportunity to replead the breach of
  fiduciary duty claims.


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                 6
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        17.    On February 4, 2015, the Court entered its Order largely denying the

  motions to dismiss the claims asserted by the putative class of Stanford Investors

  pursuant to the Texas Securities Act. [Hunton Action, ECF No. 123].6

        18.    Hunton filed its Answer on March 2, 2013. [Hunton Action, ECF No. 128].

        19.    On June 2, 2015, the Plaintiffs in the Hunton Action filed a motion to defer

  class certification proceedings and for the entry of a discovery and scheduling order with

  respect to the claims asserted by the Receiver and the OSIC. [Hunton Action, ECF No.

  131]. That motion was fully briefed by the parties.

        20.    On August 11, 2015, the Court entered an Order denying the Plaintiff’s

  motion to defer class certification and for a discovery and scheduling order. [Hunton

  Action, ECF No. 141]. On August 21, 2015, the Court entered a Class Certification

  Scheduling Order.     [Hunton Action, ECF No. 142].              Plaintiffs’ motion for class

  certification and the materials supporting that motion were filed on February 26, 2016, as

  were the responses of Hunton and Greenberg opposing class certification. [Hunton

  Action, ECF Nos. 175-184]. The motion for class certification is fully briefed and

  remains pending before the Court.

        21.    On June 15, 2016, Greenberg filed a motion to dismiss for lack of subject

  matter jurisdiction. [Hunton Action, ECF No. 203]. On July 15, 2016, Hunton filed a

  motion for judgment on the pleadings. [Hunton Action, ECF No. 207]. Both motions

  rely upon the attorney immunity doctrine as articulated by the Texas Supreme Court in


  6
        The Court dismissed certain class claims as time barred.



  DECLARATION OF EXAMINER JOHN J. LITTLE                                                    7
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  Cantey Hanger LLP v. Byrd, 467 S.W. 3d 477 (Tex. 2015). Both motions have been

  fully briefed and remain pending before the Court.

           22.   On March 31, 2017, the plaintiffs in the Hunton Action filed a motion

  seeking the entry of a scheduling order with respect to the claims asserted by the

  Receiver and the OSIC. [Hunton Action, ECF No. 225]. That motion was opposed by

  Greenberg and Hunton and has been fully briefed. It remains pending before the Court.

                          D.     Examiner Involvement in Actions

           23.   In my capacity as the OSIC Chair, I have worked closely with the Receiver,

  his counsel, OSIC’s counsel, and putative class counsel to coordinate the prosecution of

  claims against third parties for the benefit of the Receivership Estate and Stanford

  Investors, including the claims asserted in the Hunton Action.

           24.   In that regard, I have been involved, as Chair of OSIC, in the OSIC’s

  prosecution of the Hunton Claims in the Hunton Action.

           25.   OSIC’s counsel at CS, NF, BL and SP have spent several years and

  thousands of hours investigating and pursuing the claims asserted in the Hunton Action.

  The materials reviewed by OSIC’s counsel included, among other materials, thousands of

  pages of SEC and other investigation materials, thousands of pages of deposition and trial

  testimony from the prosecution of Allen Stanford and others, thousands of emails of

  Stanford and Hunton personnel, and hundreds of boxes of materials, including Hunton

  materials and files, that the Receiver secured from Stanford’s various offices and law

  firms.




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                 8
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         26.      Two mediation sessions were held with Hunton to address the Proskauer

  Claims. The first was held in Houston on August 8 and 9, 2012, facilitated by the Hon.

  Gary V. McGowan.           The Examiner did not attend that mediation session but

  communicated throughout it with the Receiver and with OSIC’s counsel. The second

  mediation session was held in New York City in October 2016, facilitated by the Hon.

  Layn R. Phillips. As OSIC’s Chair, I participated in that second mediation session. In

  addition to myself, the plaintiffs in the Hunton Action were represented by a number of

  class representative plaintiffs, including Samuel Troice, and by attorneys from NF (Pat

  Neligan and Doug Buncher), CS (Ed Snyder), and BL (Peter Morgenstern).

         27.      Despite a full day mediation, the parties were unable to reach a resolution.

  Negotiations continued between and among the parties following the second mediation

  session.     In May 2017, Hunton, the Receiver, the OSIC and the investor plaintiffs

  executed a term sheet outlining the terms of a settlement with Hunton. In August 2017,

  those same parties executed a definitive Settlement Agreement (the “Hunton Settlement

  Agreement”), for which approval is now sought.

         28.      In my capacity as Chair of the OSIC, I was involved in the negotiations that

  followed the second mediation session and in the negotiations that led to the drafting and

  execution of the Hunton Settlement Agreement. The Hunton Settlement Agreement calls

  for Hunton to pay $34 million to settle the Hunton Claims asserted against Hunton in the

  Hunton Action.




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                   9
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             E.     Examiner’s Opinion Concerning the Hunton Settlement and
                             The Payment of Attorneys’ Fees

           29.    It is my opinion that the settlement the Receiver, the OSIC and the putative

  class plaintiffs reached with Hunton is fair and reasonable, in the best interests of the

  Stanford Receivership estate and the Stanford Investors, and should be approved by the

  Court. My opinion is based upon my involvement in the investigation and prosecution of

  the claims asserted in the Hunton Action, the risks, uncertainty and the length of time it

  would take to get to trial in the Hunton Action, the uncertainty concerning the pending

  motion for class certification, and the Fifth Circuit’s Troice decision.          Troice v.

  Proskauer Rose LLP, ___ F.3d ___, No. 15-10500, 2016 WL 929476 (5th Cir. Mar. 10,

  2016).

           30.    The Receiver and the OSIC have agreed in principal with putative class

  counsel and the named Plaintiffs in the Hunton Action that any proceeds recovered from

  the Hunton Action will be distributed through the Receiver’s existing (and already

  approved and operating) mechanism for identifying and approving claims and making

  distributions. Using the Receiver’s existing process will be far more efficient, and likely

  result in larger distributions to Stanford Investors, than the alternative of creating one or

  more parallel claim and distribution process(es) for class actions.

           31.    As noted above, the OSIC entered into a Revised Fee Agreement with CS,

  NF, BL and SP that provided for the payment of a contingent fee of twenty-five percent

  (25%) of the Net Recovery realized in respect of the Hunton Claims.




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                   10
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         32.     The Court has previously approved a contingent fee arrangement between

  OSIC and its counsel that provides for the payment of a 25% contingent fee on net

  recoveries from certain lawsuits prosecuted by OSIC.7 Civil Action No. 3:09-CV-0298-

  N, Doc. No. 1267.

         33.     The Revised Fee Agreement entered between OSIC and its counsel here

  (NF, CS, BL and SP) was modeled after the contingency fee agreement already approved

  by the Court in the primary receivership proceeding. Civil Action No. 3:09-CV-0298-N,

  Doc. No. 1267.

         34.     For the same reasons the Court previously found the twenty-five percent

  (25%) contingency fee agreement between the OSIC and its counsel to be reasonable, see

  id., p. 2, the Court should find the twenty-five percent (25%) contingency fee applicable

  to the settlement with Hunton to be reasonable and approve it for payment.

         35.     It is my opinion that the attorneys’ fee requested is reasonable in

  comparison to the total net amount to be recovered for the benefit of the Stanford

  Investors.    The twenty-five percent (25%) contingency fee was heavily negotiated

  between OSIC and its Counsel, and is substantially below the typical market rate

  contingency fee percentage of 33% to 40% that most law firms would demand to handle

  cases of this complexity and magnitude.

         36.     I respectfully submit that an award of attorneys’ fees equal to twenty-five

  percent (25%) of the Net Recovery from the settlement with Hunton is reasonable and


  7
         The referenced Order addressed the OSIC’s prosecution of certain fraudulent transfer and unjust
  enrichment actions.


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                           11
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  appropriate considering the significant time, effort, and resources which OSIC’s counsel

  have invested in investigating the Stanford fraud, prosecuting and resolving the Hunton

  Claims with respect to Hunton, and prosecuting the other Stanford-related litigation.

        Executed on August 7, 2017.



                                                        ____________________________
                                                            John J. Little




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                  12
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                             Exhibit 8
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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


  SECURITIES AND EXCHANGE
  COMMISSION,

                                     Plaintiff,
                                                     Civil Action No. 3:09-cv-00298-N
  v.

  STANFORD INTERNATIONAL BANK, LTD,
  et al.,
                                     Defendants.



  RALPH S. JANVEY, in his capacity as Court-
  appointed receiver for the Stanford Receivership
  Estate; the OFFICIAL STANFORD
  INVESTORS COMMITTEE; PAM REED;
  SAMUEL TROICE; and MICHOACAN
  TRUST; individually and on behalf of a class of
  all others similarly situated,
                                                     Civil Action No. 3:12-cv-04641-N
                                    Plaintiffs,

   v.

  GREENBERG TRAURIG, LLP; HUNTON &
  WILLIAMS, LLP; AND YOLANDA SUAREZ,
                                    Defendants.




  [PROPOSED] ORDER APPROVING ATTORNEYS’ FEES
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                                                                                                                                   [PROPOSED] ORDER APPROVING ATTORNEYS’ FEES
  	  

                                                             Before the Court is the Expedited Request for Entry of Scheduling Order and Motion for

  Order Approving Proposed Settlement with Hunton & Williams LLP (“Hunton”), to Enter the

  Bar Order, to Enter the Final Judgment and Bar Order, and for Plaintiffs’ Attorneys’ Fees (the

  “Motion”) of the Receiver and the Official Stanford Investors Committee (the “Committee”).

  See SEC v. Stanford Int’l Bank, Ltd., No. 3:09-cv-0298-N (N.D. Tex.) (the “SEC Action”) ECF

  No. _____; and Janvey v. Greenberg Traurig, LLP, No. 3:12-cv-04641-N (N.D. Tex.) (the

  “Litigation”) ECF No.___.1                                                                                                                                                                                                                          This Order addresses the request for approval of Plaintiffs’

  attorneys’ fees contained within the Motion. All relief requested in the Motion other than the

  request for approval of attorneys’ fees was addressed in the Court’s Final Judgment and Bar

  Order entered in the Receiver Litigation on______________.

                                                             Having considered the Motion, the Declarations submitted in support of the Motion, the

  arguments and the applicable legal authorities, the Court finds that the Plaintiffs’ request for

  approval of attorneys’ fees contained within the Motion should be granted. The Court finds that

  the 25% contingency fee agreements between Plaintiffs and Plaintiffs’ counsel is reasonable and

  consistent with the percentage charged and approved by courts in other cases of this magnitude

  and complexity. The Stanford Receivership and the Litigation are extraordinarily complex and

  time-consuming and have involved a great deal of risk and capital investment by Plaintiffs’

  counsel as evidenced by the Declarations of Plaintiffs’ counsel submitted in support of the

  request for approval of their fees.                                                                                                                                                                                                                       Both the Motion and the Declarations provide ample

  evidentiary support for the award of the Plaintiffs’ attorneys’ fees set forth in this Order.

                                                             Trial courts can determine attorneys’ fee awards in common fund cases such as this one

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                                                             Capitalized terms not defined herein shall have the meaning set forth in the Motion.


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  using different methods. The common-fund doctrine applies when “a litigant or lawyer who

  recovers a common fund for the benefit of persons other than himself or his client is entitled to a

  reasonable attorney’s fee from the fund as a whole.” In re Harmon, No. 10-33789, 2011 WL

  1457236, at *7 (Bankr. S.D. Tex. Apr. 14, 2011) (quoting Boeing Co. v. Van Gemert, 444 U.S.

  472, 478 (1980)).

         One method for analyzing an appropriate award for Plaintiffs’ attorneys’ fees is the

  percentage method, under which the court awards fees based on a percentage of the common

  fund. Union Asset Management Holding A.G. v. Dell, Inc., 669 F.3d 632, 642-43 (5th Cir.

  2012). The Fifth Circuit is “amenable to [the percentage method’s] use, so long as the Johnson

  framework is utilized to ensure that the fee award is reasonable.” Id. at 643 (citing Johnson v.

  Georgia Hwy. Express, Inc, 488 F.2d 714 (5th Cir. 1974)). The Johnson factors include: (1)

  time and labor required; (2) novelty and difficulty of the issues; (3) required skill; (4) whether

  other employment is precluded; (5) the customary fee; (6) whether the fee is fixed or contingent;

  (7) time limitations; (8) the amount involved and the results obtained; (9) the attorneys’

  experience, reputation and ability; (10) the “undesirability” of the case; (11) the nature and

  length of the professional relationship with the client; and (12) awards in similar cases. See

  Johnson, 488 F.2d at 717-19.

         Thus, when considering fee awards in class action cases “district courts in [the Fifth]

  Circuit regularly use the percentage method blended with a Johnson reasonableness check.” Id.

  (internal citations omitted); see Schwartz v. TXU Corp., No. 3:02-CV-2243-K (lead case), 2005

  WL 3148350, at *25 (N.D. Tex. Nov. 8, 2005) (collecting cases). While the Fifth Circuit has

  also permitted analysis of fee awards under the lodestar method, both the Fifth Circuit and

  district courts in the Northern District have recognized that the percentage method is the




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  preferred method of many courts. Dell, 669 F.3d at 643; Schwartz, 2005 WL 3148350, at *25.

  In Schwartz, the court observed that the percentage method is “vastly superior to the lodestar

  method for a variety of reasons, including the incentive for counsel to ‘run up the bill’ and the

  heavy burden that calculation under the lodestar method places upon the court.” 2005 WL

  3148350, at *25. The court also observed that, because it is calculated based on the number of

  attorney-hours spent on the case, the lodestar method deters early settlement of disputes. Id.

  Thus, there is a “strong consensus in favor of awarding attorneys’ fees in common fund cases as

  a percentage of the recovery.” Id. at *26.

         While the Hunton Settlement is not a class action settlement, because the settlement is

  structured as a settlement with the Receiver and the Committee, and as a bar order precluding

  other litigation against Hunton arising from Stanford, this Court has analyzed the award of

  attorneys’ fees to Plaintiffs’ counsel under both the common fund and the Johnson approach.

  Whether analyzed under the common fund approach, the Johnson framework, or both, the 25%

  fee sought by Plaintiffs’ counsel pursuant to their fee agreements is reasonable and is hereby

  approved by the Court.

         Having reviewed the Declarations of Plaintiffs’ counsel reflecting the investment of

  thousands of hours and millions of dollars of attorney time by Plaintiffs’ counsel in the Stanford

  Receivership as a whole and in the litigation against Hunton specifically, the Court finds that the

  proposed 25% fee for Plaintiffs’ counsel is a reasonable percentage of the common fund (i.e. the

  $35 million settlement). “The vast majority of Texas federal courts and courts in this District

  have awarded fees of 25%-33% in securities class actions.” Schwartz, 2005 WL 3148350, at

  *31 (collecting cases). “Indeed, courts throughout this Circuit regularly award fees of 25% and

  more often 30% or more of the total recovery under the percentage-of-the recovery method.” Id.




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  The Court further finds that the fee is reasonable based upon the Court’s analysis of the Johnson

  factors.

             A review of the Johnson factors that are discussed at length in the Motion and supported

  by Plaintiffs’ counsel’s Declarations also demonstrates that the proposed 25% fee is reasonable

  and should be approved. With respect to the time and labor required, Plaintiffs’ counsel invested

  a tremendous amount of time and labor in this case as reflected in the Snyder, Morgenstern,

  Buncher, and Valdespino Declarations filed in support of the Motion. Castillo Snyder, P.C. has

  close to $8 million invested in the Stanford cases overall since 2009, and over 3,000 hours of

  time worth $1,790,897.50	   invested specifically in the Litigation. Butzel Long, P.C. also has

  thousands of hours and millions of dollars of time invested in pursuing claims against third

  parties related to the Stanford Receivership, and 1,203.80 hours of attorney and paralegal time

  worth $709,323.00 attributable to the Litigation. Neligan LLP has 805.9 hours and $414,010.50

  million worth of attorney and paralegal time invested in the Litigation. Strasburger & Price,

  LLP has over 214 hours of attorney and paralegal time worth $121,335.00 invested specifically

  in the Litigation.

             The issues presented in the Litigation were novel, difficult and complex. Several of the

  complex legal and factual issues are outlined in the Motion. Given the complexity of the factual

  and legal issues presented in this case, the preparation, prosecution, and settlement of this case

  required significant skill and effort on the part of Plaintiffs’ counsel. Although participation in

  the the Litigation did not necessarily preclude Plaintiffs’ counsel from accepting other

  employment, the Declarations reveal that the sheer amount of time and resources involved in

  investigating, preparing, and prosecuting the Litigation, as reflected by the hours invested by

  Plaintiffs’ counsel, significantly reduced Plaintiffs’ counsel’s ability to devote time and effort to




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  other matters.

         The 25% fee requested is also substantially below the typical market rate contingency fee

  percentage of 33% to 40% that most law firms would demand to handle cases of this complexity

  and magnitude. See Schwartz, 2005 WL 3148350, at *31 (collecting cases and noting that 30%

  is standard fee in complex securities cases). “Attorney fees awarded under the percentage

  method are often between 25% and 30% of the fund.” Klein, 705 F. Supp. 2d at 675 (citing

  Manual for Complex Litig. (Fourth) § 14.121 (2010)); see, e.g., SEC v. Temme, No. 4:11-cv-

  00655-ALM, at *4-5 (E.D. Tex. November 21, 2012), ECF No. 162 (25% contingent fee for a

  $1,335,000 receivership settlement); Billitteri v. Sec. Am., Inc., No. 3:09-cv-01568-F (lead case),

  2011 WL 3585983, *4-9 (N.D. Tex. 2011) (25% fee for a $80 million settlement); Klein, 705 F.

  Supp. 2d at 675-81 (30% fee for a $110 million settlement).

         At the time of the Hunton Settlement, Plaintiffs were not subject to significant time

  limitations in the Litigation, as the Litigation has been essentially stayed while the parties

  awaited this Court’s ruling on class certification. However, and given the breadth and scope of

  activity in the Litigation over the last 5 years, including heavy briefing and motion practice,

  including class certification discovery and briefing, Plaintiffs’ counsel has been consistently

  under deadlines and time pressure. Had an investor class been certified, the Litigation would

  have remained pending before the Court and would likely have taken years to resolve.

  Furthermore, given the magnitude and complexity of the cases, even if a trial in the Litigation

  was set a year in the future, Plaintiffs’ counsel would have been under significant time pressure

  to complete all the investigation and discovery to prepare the case for final hearing within a year.

         The $34 million to be paid by Hunton represents a substantial settlement and value to the

  Receivership Estate. Thus, the amount involved and results obtained also support approval of




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  the requested fee. The Declarations of Plaintiffs’ counsel further reflect that Plaintiffs’ counsel

  have represented numerous receivers, bankruptcy trustees, and other parties in complex litigation

  matters related to equity receiverships and bankruptcy proceedings similar to the Stanford

  receivership proceeding.     Plaintiffs’ counsel have been actively engaged in the Stanford

  proceeding since its inception. Thus, the attorneys’ experience, reputation and ability also

  support the fee award.      Given the complexity of the issues in the Litigation, the Hunton

  Settlement, as well as other settlements achieved by Plaintiffs’ counsel in the Stanford

  Receivership that have also been approved by this Court, are indicative of Plaintiffs’ counsel’s

  abilities to obtain favorable results in these proceedings.

         The nature and length of Plaintiffs’ counsel’s professional relationship with the client

  also supports the fee award. Plaintiffs’ Counsel have represented the Receiver, the Committee,

  and investor plaintiffs in numerous actions pending before the Court in connection with the

  Stanford Receivership since 2009, all on the same 25% contingency fee arrangement.

         Finally, awards in similar cases, with which this Court is familiar, as well as those

  discussed in the Schwarz opinion, all support the fee award. A 25% contingency fee has also

  previously been approved as reasonable by this Court in its order approving the Receiver’s

  agreement with the Committee regarding the joint prosecution of fraudulent transfer and other

  claims by the Receiver and the Committee (the “OSIC-Receiver Agreement”). See SEC Action

  ECF No. 1267, p. 2 (“The Court finds that the fee arrangement set forth in the Agreement is

  reasonable.”); see also OSIC-Receiver Agreement SEC Action ECF No. 1208, Ex. A, p. 3

  (providing a “contingency fee” of 25% of any Net Recovery in actions prosecuted by the

  Committee’s designated professionals). This Court has also approved a 25% contingency fee

  arrangement in the BDO, Adams & Reese, and Chadbourne cases. See Official Stanford Inv’rs




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  Comm. v. BDO USA, LLP, No. 3:12-cv-01447-N-BG (N.D. Tex. Sep. 23, 2015), ECF No. 80;

  Order Approving Attorneys’ Fees in Ralph S. Janvey v. Adams & Reese, LLP, Civil Action No.

  3:12-CV-00495-B [SEC Action, ECF. No. 2231]; Order Approving Attorneys’ Fees, SEC

  Action, ECF No. 2366 (approving 25% contingency fee on a $35 million settlement with

  Chadbourne & Parke LLP).

         For these reasons, the Court finds the 25% contingency fee requested in connection with

  the Hunton Settlement is well within the range of reasonableness for cases of the magnitude and

  complexity of the Receiver Litigation and the Investor Litigation, and the Court hereby approves

  the award of Plaintiffs’ attorneys’ fees in the amount of [$8,485,619.72] as requested in the

  Motion. The Receiver is, therefore,

         ORDERED to pay Plaintiffs’ counsel attorneys’ fees in the amount of [$8,485,619.72]

  upon receipt of the Settlement Amount in accordance with the terms of the Hunton Settlement

  Agreement.



  SIGNED on ______________________

                                                     _______________________________
                                                     DAVID C. GODBEY
                                                     UNITED STATES DISTRICT JUDGE
  	  




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